Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 1 of 86




                   EXHIBIT A
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 2 of 86
                        PUBLIC VERSION

Trials@uspto.gov                                                Paper 57
571-272-7822                                          Date: May 11, 2022


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                            GOOGLE LLC,
                              Petitioner,

                                   v.

                   SINGULAR COMPUTING LLC,
                         Patent Owner.


                            IPR2021-00165
                          Patent 9,218,156 B2



Before JUSTIN T. ARBES, STACEY G. WHITE, and JASON M. REPKO,
Administrative Patent Judges.

PER CURIAM.

                             JUDGMENT
                         Final Written Decision
          Determining Some Challenged Claims Unpatentable
                           35 U.S.C. § 318(a)
             Dismissing Patent Owner’s Motion to Exclude
                           37 C.F.R. § 42.64
        Granting Patent Owner’s and Petitioner’s Motions to Seal
                       37 C.F.R. §§ 42.14, 42.54




                        PUBLIC VERSION
   Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 3 of 86
IPR2021-00165
Patent 9,218,156 B2
                           I.   INTRODUCTION
                       A. Background and Summary
      Petitioner Google LLC filed a Petition (Paper 2, “Pet.”) requesting
inter partes review of claims 1–8, 16, and 33 of U.S. Patent No. 9,218,156
B2 (Ex. 1001, “the ’156 patent”) pursuant to 35 U.S.C. § 311(a).
On May 13, 2021, we instituted an inter partes review as to all challenged
claims on all grounds of unpatentability asserted in the Petition. Paper 16
(“Decision on Institution” or “Dec. on Inst.”). Patent Owner Singular
Computing LLC subsequently filed a Patent Owner Response (Paper 28,
“PO Resp.”), Petitioner filed a Reply (Paper 34, “Reply”), and Patent Owner
filed a Sur-Reply (Paper 38, “Sur-Reply”). Patent Owner filed a Motion to
Exclude (Paper 46, “Mot.”) certain evidence submitted by Petitioner, to
which Petitioner filed an Opposition (Paper 47) and Patent Owner filed a
Reply (Paper 49). An oral hearing was held on February 11, 2022, and
transcripts of the hearing are included in the record (Paper 55, “Conf. Tr.”;
Paper 56, “Public Tr.”). The parties also filed Motions to Seal (Papers 52
and 54) portions of their demonstrative exhibits containing confidential
information.
      We have jurisdiction under 35 U.S.C. § 6. This Final Written
Decision is issued pursuant to 35 U.S.C. § 318(a). For the reasons that
follow, we determine that Petitioner has shown by a preponderance of the
evidence that claims 1, 2, 16, and 33 are unpatentable, but has not shown by
a preponderance of the evidence that claims 3–8 are unpatentable.


                             B. Related Matters
      The parties indicate that the ’156 patent is the subject of Singular
Computing LLC v. Google LLC, Case No. 1:19-cv-12551-FDS (D. Mass.)

                                       2
   Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 4 of 86
IPR2021-00165
Patent 9,218,156 B2
(“the district court case”). See Pet. xi; Paper 9, 1. Petitioner filed another
petition challenging claims 1–8, 16–25, and 33–42 of the ’156 patent in
IPR2021-00164, which was denied, and filed four other petitions
challenging claims of two related patents also asserted in the district court
case in IPR2021-00154 (denied), IPR2021-00155 (instituted),
IPR2021-00178 (denied), and IPR2021-00179 (instituted).


                               C. The ’156 Patent
       The ’156 patent, entitled “Processing with Compact Arithmetic
Processing Element,” relates to “computer processors or other devices which
use low precision high dynamic range (LPHDR) processing elements to
perform computations (such as arithmetic operations).” Ex. 1001, code (54),
col. 6, ll. 3–7.
       According to the ’156 patent, conventional central processing unit
(CPU) chips make inefficient use of transistors as a tradeoff for delivering
the high precision required by many applications. Id. at col. 3, ll. 11–26.
For example, conventional CPU chips “perform[] exact arithmetic with
integers typically 32 or 64 bits long and perform[] rather accurate and
widely standardized arithmetic with 32 and 64 bit floating point numbers,”
but require “on the order of a million transistors to implement the arithmetic
operations.” Id. at col. 3, ll. 19–26. According to the ’156 patent, “many
economically important applications . . . are not especially sensitive to
precision and . . . would greatly benefit, in the form of application
performance per transistor, from the ability to draw upon a far greater
fraction of the computing power inherent in those million transistors.” Id. at
col. 3, ll. 27–32. But “[c]urrent architectures for general purpose computing
fail to deliver this power.” Id. at col. 3, ll. 32–33.

                                         3
   Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 5 of 86
IPR2021-00165
Patent 9,218,156 B2
      The ’156 patent is, therefore, “directed to a processor or other device,
such as a programmable and/or massively parallel processor or other device,
which includes processing elements designed to perform arithmetic
operations . . . on numerical values of low precision but high dynamic range
(‘LPHDR arithmetic’).” Id. at col. 2, ll. 15–22. According to the
’156 patent, “‘low precision’ processing elements perform arithmetic
operations which produce results that frequently differ from exact results by
at least 0.1%.” Id. at col. 2, ll. 32–35. In addition, “high dynamic range”
processing elements “are capable of operating on inputs and/or producing
outputs spanning a range at least as large as from one millionth to one
million.” Id. at col. 2, ll. 40–43. Figure 6, reproduced below, is an example
of an LPHDR arithmetic unit according to one embodiment of the
’156 patent.




Figure 6 provides “an example design for an LPHDR arithmetic unit
according to one embodiment of” the ’156 patent. Id. at col. 2,
ll. 60–61. As shown in Figure 6, LPHDR arithmetic unit 408 receives
two inputs: A input (602a) and B input (602b), and produces output
602c. Id. at col. 12, ll. 55–56. The LPHDR arithmetic unit “is

                                      4
   Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 6 of 86
IPR2021-00165
Patent 9,218,156 B2
controlled by control signals 412a-d, coming from the CU 106, that
determine which available arithmetic operation will be performed on
the inputs 602a-b.” Id. at col. 12, ll. 62–65. According to the
’156 patent, Figure 6 illustrates an embodiment where “all the
available arithmetic operations are performed in parallel on the inputs
602a-b by adder/subtractor 604, multiplier 606, and divider 608.” Id.
at col. 12, l. 65–col. 13, l. 1. Finally, multiplexers (MUXes) 610a and
610b choose and send the desired result from among the outputs of the
adder/subtractor, multiplier, and divider to output 602c. Id. at col. 13,
ll. 4–13. The ’156 patent provides that “[t]he computing architecture
literature discusses many variations which may be incorporated into
the embodiment illustrated in FIG. 6.” Id. at col. 13, ll. 11–13.
         According to the ’156 patent, the “computational tasks” that the
LPHDR arithmetic units can perform “enable a variety of practical
applications.” Id. at col. 17, ll. 20–23. The ’156 patent provides, as
examples, applications including “finding nearest neighbors,” id. at col. 17,
l. 31–col. 21, l. 26, “distance weighted scoring,” id. at col. 21, l. 28–col. 22,
l. 17, and “removing motion blur in images,” id. at col. 22, l. 19–col. 23,
l. 34.


                              D. Illustrative Claims
         Challenged claims 1, 16, and 33 of the ’156 patent are independent.
Claims 2–8 depend from claim 1. Claims 1–3 recite:
               1. A device comprising:
                 at least one first low precision high dynamic range
         (LPHDR) execution unit adapted to execute a first operation on
         a first input signal representing a first numerical value to produce
         a first output signal representing a second numerical value,


                                          5
   Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 7 of 86
IPR2021-00165
Patent 9,218,156 B2
                    wherein the dynamic range of the possible valid
             inputs to the first operation is at least as wide as from
             1/65,000 through 65,000 and for at least X=5% of the
             possible valid inputs to the first operation, the statistical
             mean, over repeated execution of the first operation on
             each specific input from the at least X% of the possible
             valid inputs to the first operation, of the numerical values
             represented by the first output signal of the LPHDR unit
             executing the first operation on that input differs by at least
             Y=0.05% from the result of an exact mathematical
             calculation of the first operation on the numerical values
             of that same input; and
            at least one first computing device adapted to control the
      operation of the at least one first LPHDR execution unit.
            2. The method of claim 1, wherein the at least one first
      computing device comprises at least one of a central processing
      unit (CPU), a graphics processing unit (GPU), a field
      programmable gate array (FPGA), a microcode-based processor,
      a hardware sequencer, and a state machine.
             3. The device of claim 2, wherein the number of LPHDR
      execution units in the device exceeds by at least one hundred the
      non-negative integer number of execution units in the device
      adapted to execute at least the operation of multiplication on
      floating point numbers that are at least 32 bits wide.


                                 E. Evidence
      The pending grounds of unpatentability in the instant inter partes
review are based on the following prior art:
            U.S. Patent No. 5,689,677, issued Nov. 18, 1997
      (Ex. 1009, “MacMillan”);
            U.S. Patent Application Publication No. 2007/0203967
      A1, published Aug. 30, 2007 (Ex. 1007, “Dockser”); and
            Jonathan Ying Fai Tong, David Nagle, & Rob A.
      Rutenbar, “Reducing Power by Optimizing the Necessary
      Precision/Range of Floating-Point Arithmetic,” IEEE


                                        6
Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 8 of 86
   Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 9 of 86
IPR2021-00165
Patent 9,218,156 B2
level of active workers in the field.” Ruiz v. A.B. Chance Co., 234 F.3d 654,
666–667 (Fed. Cir. 2000). “Not all such factors may be present in every
case, and one or more of them may predominate.” Id.
      Petitioner asserts that at the time of the earliest possible effective
filing date of the ’156 patent (June 19, 2009), a person of ordinary skill in
the art would have had “at least a bachelor’s degree in Electrical
Engineering, Computer Engineering, Applied Mathematics, or the
equivalent, and at least two years of academic or industry experience in
computer architecture.” Pet. 8–9 (citing Ex. 1003 ¶¶ 43–45). Patent
Owner’s proposed definition of the level of ordinary skill in the art is the
same other than it removes the phrases “or the equivalent” and “at least.”
PO Resp. 14 (citing Ex. 2001 ¶¶ 36–37). There is little difference between
the parties’ proposed definitions, and the parties and their experts do not
explain the basis for their proposals. Arguably, however, the term “at least”
creates unnecessary ambiguity. Based on the full record developed during
trial, including our review of the ’156 patent and the types of problems and
solutions described in the ’156 patent and cited prior art, we determine that a
person of ordinary skill in the art would have had a bachelor’s degree in
Electrical Engineering, Computer Engineering, Applied Mathematics, or the
equivalent, and two years of academic or industry experience in computer
architecture. See, e.g., Ex. 1001, col. 1, l. 29–col. 2, l. 11 (describing in the
“Background” section of the ’156 patent various conventional methods of
computation and their alleged deficiencies). We apply that definition for
purposes of this Decision.




                                        8
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 10 of 86
IPR2021-00165
Patent 9,218,156 B2
                            B. Claim Interpretation
      We interpret the claims of the challenged patent
      using the same claim construction standard that would be used to
      construe the [claims] in a civil action under 35 U.S.C. 282(b),
      including construing the [claims] in accordance with the ordinary
      and customary meaning of such [claims] as understood by one of
      ordinary skill in the art and the prosecution history pertaining to
      the patent.
37 C.F.R. § 42.100(b) (2020). “In determining the meaning of [a] disputed
claim limitation, we look principally to the intrinsic evidence of record,
examining the claim language itself, the written description, and the
prosecution history, if in evidence.” DePuy Spine, Inc. v. Medtronic
Sofamor Danek, Inc., 469 F.3d 1005, 1014 (Fed. Cir. 2006). Claim terms
are given their plain and ordinary meaning as would be understood by a
person of ordinary skill in the art at the time of the invention and in the
context of the entire patent disclosure. Phillips v. AWH Corp., 415 F.3d
1303, 1313 (Fed. Cir. 2005) (en banc). “There are only two exceptions to
this general rule: 1) when a patentee sets out a definition and acts as his own
lexicographer, or 2) when the patentee disavows the full scope of a claim
term either in the specification or during prosecution.” Thorner v. Sony
Comput. Entm’t Am. LLC, 669 F.3d 1362, 1365 (Fed. Cir. 2012). We
conclude that only one claim term requires interpretation to decide the issues
presented during trial. See Nidec Motor Corp. v. Zhongshan Broad Ocean
Motor Co., 868 F.3d 1013, 1017 (Fed. Cir. 2017) (“Because we need only
construe terms ‘that are in controversy, and only to the extent necessary to
resolve the controversy,’ we need not construe [a particular claim limitation]
where the construction is not ‘material to the . . . dispute.’” (citation
omitted)).



                                        9
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 11 of 86
IPR2021-00165
Patent 9,218,156 B2
       Claim 1 recites “at least one first low precision high dynamic range
(LPHDR) execution unit adapted to execute a first operation on a first input
signal representing a first numerical value to produce a first output signal
representing a second numerical value.” Independent claims 16 and 33
recite the same limitation.
       At issue here is the meaning of “low precision high dynamic range
(LPHDR) execution unit,” as recited in claims 1, 16, and 33. Specifically,
we need to resolve the question of whether this execution unit must be
adapted to execute arithmetic operations only at low precision. For the
reasons that follow, we determine that it does not.
       Petitioner argues that, in the prior art used in all challenges, Dockser’s
floating-point processor (FPP), including the floating-point operator (FPO)
inside the FPP, is low precision “because ‘the precision’ of operations in the
FPP is ‘reduced,’ . . . and because it operates with the minimum
imprecision” recited in the claim. Pet. 14–15 (citing Ex. 1003 ¶¶ 209–210;
Ex. 1001, col. 26, l. 39–col. 27, l. 51; Ex. 1035, 8). Petitioner asserts that, in
the claim, the minimum imprecision is found in the limitation that it calls
1B2:
       for at least X=5% of the possible valid inputs to the first
       operation, the statistical mean, over repeated execution of the
       first operation on each specific input from the at least X % of the
       possible valid inputs to the first operation, of the numerical
       values represented by the first output signal of the LPHDR unit
       executing the first operation on that input differs by at least
       Y=0.05% from the result of an exact mathematical calculation of
       the first operation on the numerical values of that same input.
Ex. 1001, col. 29, l. 62–col. 30, l. 4. According to Petitioner, the ’156 patent
characterizes degrees of precision described in language mirroring 1B2 as
“low precision.” Pet. 14–15. Petitioner argues that the execution units in


                                       10
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 12 of 86
IPR2021-00165
Patent 9,218,156 B2
the prior art fall within the scope of the recited unit if they perform reduced
precision operations and at least one, but not necessarily all, of those
operations meets the other requirements of claim 1. See, e.g., id. at 32
(explaining that “numerous obvious implementations of Dockser’s FPP drop
sufficient bits to yield an execution unit meeting the claimed minimum
imprecision”); Reply 2–3 (discussing the “low precision” requirement).
      Patent Owner argues that the LPHDR execution unit should be
construed as “an execution unit that executes arithmetic operations only at
low precision and with high dynamic range, wherein ‘high dynamic range’
and ‘low precision’ are defined according to the numerical requirements
below.” PO Resp. 15 (emphasis added). We emphasize “only” because
Patent Owner argues that the recited LPHDR execution unit “necessarily
excludes full-precision or mixed full and low precision units.” Id. at 16
(citing Ex. 2051 ¶ 60).
      In support of its proposed construction, Patent Owner asserts that
construing the LPHDR execution unit as encompassing full or mixed
precision units would “impermissibly read out ‘low precision high dynamic
range’ and render the limitation meaningless.” Id. (citing Network-1 Techs.,
Inc. v. Hewlett-Packard Co., 981 F.3d 1015, 1022–23 (Fed. Cir. 2020)); see
also id. at 17 (arguing that Petitioner’s construction reads “‘low precision’
out of the claims entirely”).
      Based on the totality of the record, we agree with Petitioner that the
recited LPHDR execution unit does not exclude mixed full and low
precision execution units (i.e., those that are capable of arithmetic operations
at both levels of precision). See, e.g., Pet. 14–15, 31–32. We reject Patent
Owner’s argument that interpreting the claim in this way renders the term
“low precision” “meaningless.” See PO Resp. 15–17. Rather, the term “low

                                       11
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 13 of 86
IPR2021-00165
Patent 9,218,156 B2
precision” imposes the requirement that the unit must at least perform
arithmetic operations at low precision, which would exclude units that
operate only at full precision, for example. Thus, we disagree with Patent
Owner and assign little weight to Dr. Khatri’s testimony on this issue. See
id.; Ex. 2051 ¶¶ 60–61.
      As stated in our Decision on Institution, the recitation of “a first
operation” in claim 1 requires only one or more first operations that meet the
low precision criteria specified in the claim. Dec. on Inst. 21–22. The
claims do not require that “every” operation must be low precision or
exclude the LPHDR execution unit from having other capabilities for other
operations. Id. Indeed, Patent Owner agrees that “a claim’s recitation of an
‘execution unit adapted to execute a first operation’ would normally not
preclude that execution unit from performing other types of operations.”
PO Resp. 17–18. Patent Owner, though, argues that this “rule does not
apply when the specification teaches otherwise, as is the situation here.”
Id. We disagree.
      Patent Owner relies on exemplary non-limiting embodiments from the
’156 patent. See id. at 18. Specifically, Patent Owner argues that “the
claimed LPHDR execution units are smaller and have fewer transistors” than
prior art full precision execution units. Id. (citing Ex. 2051 ¶ 62). But the
cited passage pertains only to exemplary embodiments and says that the
“amount of resources” is small, with transistors being only one example of
such resources:
      For example, embodiments of the present invention may be
      implemented as any kind of machine which uses LPHDR
      arithmetic processing elements to provide computing using a
      small amount of resources (e.g., transistors or volume) compared
      with traditional architectures.


                                      12
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 14 of 86
IPR2021-00165
Patent 9,218,156 B2
Ex. 1001, col. 8, ll. 8–16 (emphasis added). In fact, some embodiments do
not even require transistors: “[e]xamples of such technologies include . . .
other technologies whether based on transistors or not.” Id. at col. 26,
ll. 13–20, cited in Reply 6.
      The reference to the “small amount of resources” in the cited passage
(Ex. 1001, col. 8, ll. 8–16) is consistent with Petitioner’s position that the
LPHDR execution unit need only perform low precision operations some of
the time because the record shows that doing so would save power and other
computational resources. For example, Dr. Khatri testified that “exact
computing . . . takes up a lot of resources, takes up a lot of power, takes up a
lot of area, and takes up a lot of delay.” Ex. 1072, 47:2–5. Mr. Goodin
explained that reducing precision may achieve power savings. See, e.g.,
Ex. 2043, 34:21–35:4; see also id. at 30:22–31:9 (discussing how selectable
precision may achieve power savings). Mr. Goodin cites specific examples
of how this is achieved. See, e.g., Ex. 1003 ¶¶ 31–33 (citing Ex. 1008, 273,
277–279), 35 (citing Ex. 1007 ¶¶ 3–7). Thus, we disagree with Patent
Owner’s argument about reducing transistors and assign little weight to
Dr. Khatri’s testimony on this issue. See PO Resp. 18; Ex. 2051 ¶ 62.
      Also, we agree with Petitioner that the degree of low precision is
described in limitation 1B2 in claim 1 and similar limitations in the other
claims. Pet. 14–15. The language used in 1B2 is consistent with how the
’156 patent describes low precision. Ex. 1001, col. 26, l. 39–col. 27, l. 51,
cited in Pet. 14–15. For example, the patent states, “[t]he degree of
precision of a ‘low precision, high dynamic range’ arithmetic element may
vary from implementation to implementation.” Id. at col. 26, ll. 39–41. The
patent then lists several examples. Id. at col. 26, l. 41–col. 27, l. 51. In one
example, “a LPHDR arithmetic element produces results which are

                                       13
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 15 of 86
IPR2021-00165
Patent 9,218,156 B2
sometimes (or all of the time) no closer than 0.05% to the correct result.”
Id. at col. 26, ll. 44–49. Similarly, independent claims 1, 16, and 33 recite
that
       the statistical mean . . . of the numerical values represented by
       the first output signal of the LPHDR unit executing the first
       operation on that input differs by at least Y=0.05% from the
       result of an exact mathematical calculation of the first operation
       on the numerical values of that same input.
       Patent Owner agrees that the claims provide the parameters of the low
precision and high dynamic range in the limitations “wherein the dynamic
range . . .” and “for at least X=5% . . . .” PO Resp. 16. Indeed, Patent
Owner in the district court case argued that the subsequent claim language
specifying percentages “defines the term ‘low precision’” and “specifies the
degree of precision that an LPHDR execution unit must have in order to
satisfy the ‘low precision’ . . . limitation of the claim.” Ex. 1065, 9
(emphasis added); see also Ex. 1066, 12 (arguing that “‘low precision high
dynamic range’ is defined in [the] claim itself”); Reply 2. Patent Owner,
however, argues that those limitations “do not allow for the execution unit to
have full-precision (or [low] dynamic range) capability.” PO Resp. 16.
       But the claims do not recite that every operation must meet these
criteria. Rather, the claims only recite that the criteria apply to “a first
operation.” This reading is consistent with the examples of LPHDR
elements from the written description. See Ex. 1001, col. 26, l. 39–col. 27,
l. 51, cited in Pet. 14–15. In those examples, the LPHDR arithmetic
elements may produce results that are only “sometimes” no closer than the
percentage to the correct result. See id. Thus, we agree with Patent Owner’s
argument that the claims provide the parameters for the term “low
precision,” but we disagree that the parameters must apply to every


                                        14
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 16 of 86
IPR2021-00165
Patent 9,218,156 B2
operation. See PO Resp. 16. For the same reasons, we assign little weight to
Dr. Khatri’s testimony on this issue. See Ex. 2051 ¶¶ 60–64.
      Patent Owner also argues that “small size and low transistor count . . .
is what allows a much larger number of LPHDR execution units to operate
in parallel on a single chip.” PO Resp. 19. But the requirement of a “much
larger number” is not in the independent claims. Nor do the claims (or
Patent Owner’s proposed construction) include any limitations on size of the
LPHDR execution unit or its transistor count. And “not every benefit
flowing from an invention is a claim limitation.” i4i Ltd. P’ship v. Microsoft
Corp., 598 F.3d 831, 843 (Fed. Cir. 2010). Even so, the Specification states
that some embodiments are not based on transistors. See, e.g., Ex. 1001,
col. 26, ll. 13–20. So we find no support in the written description for Patent
Owner’s argument about small size and low transistor count. See
PO Resp. 19. For the same reasons, we assign little weight to Dr. Khatri’s
testimony on this issue. See Ex. 2051 ¶¶ 63–64.
      We also agree with Petitioner that the written description does not
support Patent Owner’s assertion that the ’156 patent contrasts LPHDR
execution units with other units that operate in both high and low precision.
See PO Resp. 19, 23 (citing Ex. 1001, col. 5, ll. 36–45); Reply 7 (discussing
Patent Owner’s argument). The relevant part of the ’156 patent describes a
graphics processor that supports 16-bit and 32-bit floating point formats:
             When a graphics processor includes support for 16 bit
      floating point, that support is alongside support for 32 bit floating
      point, and increasingly, 64 bit floating point. That is, the 16 bit
      floating point format is supported for those applications that want
      it, but the higher precision formats also are supported because
      they are believed to be needed for traditional graphics
      applications and also for so called “general purpose” GPU
      applications. Thus, existing GPUs devote substantial resources


                                       15
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 17 of 86
IPR2021-00165
Patent 9,218,156 B2
      to 32 (and increasingly 64) bit arithmetic and are wasteful of
      transistors in the sense discussed above.
Ex. 1001, col. 5, ll. 36–45. This paragraph does not define the term “low
precision.” Id. Nor does the patent explain how the 16-bit units meet the
claimed requirements for low precision units that are recited in the claim.
See id. Also, there is no discussion of these units in the part of the written
description that lists examples of low precision units. See id. at col. 26,
l. 39–col. 27, l. 51. Thus, we disagree with Patent Owner that the
’156 patent contrasts LHPDR execution units with those that operate in both
high and low precision. PO Resp. 19, 23. For the same reasons, we assign
little weight to Dr. Khatri’s testimony on this issue. See Ex. 2051 ¶¶ 63–64,
72.
      To the contrary, we agree with Petitioner that the ’156 patent discloses
at least one embodiment that performs operations other than LPHDR
computations:
      [W]hile the obvious method of using the above [logarithmic
      number system (LNS)] operations is to do LPHDR arithmetic,
      the programmer also may consider selected values to be 12 bit
      two’s complement binary numbers. MUL and DIV may be used
      to add and subtract such values . . . . So besides doing LPHDR
      computations, this digital embodiment using LNS can perform
      simple binary arithmetic on short signed integers.
Ex. 1001, col. 14, ll. 9–18 (emphasis added), quoted in Reply 4. Because the
unit performs arithmetic operations other than those at low precision, this
example contradicts Patent Owner’s argument that an LPHDR execution
unit is “an execution unit that executes arithmetic operations only at low
precision.” PO Resp. 15 (emphasis added).
      Patent Owner counters, “as Dr. Khatri explained, a [person of
ordinary skill in the art] would not apply the terms ‘precision’ or ‘dynamic


                                       16
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 18 of 86
IPR2021-00165
Patent 9,218,156 B2
range’ to integers.” Sur-Reply 4 (citing Ex. 1072, 116:5–118:3). In Patent
Owner’s view, a person of ordinary skill in the art “would understand that
[Patent Owner’s] proposed construction would not exclude execution units
that can perform integer operations, like the LNS embodiment described in
the patent specification.” Id. at 4–5. Yet Patent Owner’s proposed
construction makes no distinction between integer or floating-point
operations. PO Resp. 15. Rather, the construction refers to “arithmetic
operations,” generally. See id.
      In its Sur-Reply, Patent Owner proposes an alternative construction—
for the first time in this proceeding—that further defines “arithmetic
operations” to be “floating-point arithmetic operations.” Sur-Reply 5.
But a sur-reply must only respond to arguments raised in the preceding brief.
Patent Trial and Appeal Board Consolidated Trial Practice Guide
(Nov. 2019), 73–74, available at https://www.uspto.gov/
TrialPracticeGuideConsolidated. Under 37 C.F.R. § 42.23(b), “respond”
does not mean proceed in a new direction with a new approach. See id. at
74. “[A] sur-reply that raises a new issue or belatedly presents evidence
may not be considered.” Id. So, apart from noting that we do not see any
reason to limit the LPHDR execution unit to only low precision operations—
regardless of how those operations are defined—for the reasons discussed
above, we do not further consider this new claim construction presented for
the first time in the Sur-Reply. See Sur-Reply 5.
      In sum, we agree with Petitioner that the recited “low precision high
dynamic range (LPHDR) execution unit” does not exclude units that are
capable of performing operations at low and full precision, and the degree of
“low precision” is defined in limitation 1B2. See, e.g., Pet. 14–15, 31–32;
Reply 2–3. To determine the patentability of the challenged claims, we need

                                      17
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 19 of 86
IPR2021-00165
Patent 9,218,156 B2
not further construe “low precision high dynamic range (LPHDR) execution
unit.” See Nidec, 868 F.3d at 1017.


                             C. Legal Standards
     To prevail in its challenges to the patentability of claims 1–8, 16, and
33 of the ’156 patent, Petitioner must demonstrate by a preponderance of the
evidence that the claims are unpatentable. 35 U.S.C. § 316(e). “In an [inter
partes review], the petitioner has the burden from the onset to show with
particularity why the patent it challenges is unpatentable.” Harmonic Inc. v.
Avid Tech., Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016). This burden of
persuasion never shifts to Patent Owner. Dynamic Drinkware, LLC v. Nat’l
Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015); see also In re
Magnum Oil Tools Int’l, Ltd., 829 F.3d 1364, 1376 (Fed. Cir. 2016)
(“Where, as here, the only question presented is whether due consideration
of the four Graham factors renders a claim or claims obvious, no burden
shifts from the patent challenger to the patentee.”).
      A claim is unpatentable for obviousness if, to one of ordinary skill in
the pertinent art, “the differences between the subject matter sought to be
patented and the prior art are such that the subject matter as a whole would
have been obvious at the time the invention was made.” KSR Int’l Co. v.
Teleflex Inc., 550 U.S. 398, 406 (2007) (quoting 35 U.S.C. § 103(a) (2006)).
The question of obviousness is resolved on the basis of underlying factual
determinations, including “the scope and content of the prior art”;
“differences between the prior art and the claims at issue”; and “the level of
ordinary skill in the pertinent art.” Graham v. John Deere Co., 383 U.S. 1,
17–18 (1966). Additionally, objective indicia of nonobviousness, such as
“commercial success, long felt but unsolved needs, failure of others, etc.,

                                      18
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 20 of 86
IPR2021-00165
Patent 9,218,156 B2
might be utilized to give light to the circumstances surrounding the origin of
the subject matter sought to be patented. As indicia of obviousness or
nonobviousness, these inquiries may have relevancy.” Id. When conducting
an obviousness analysis, we consider a prior art reference “not only for what
it expressly teaches, but also for what it fairly suggests.” Bradium Techs.
LLC v. Iancu, 923 F.3d 1032, 1049 (Fed. Cir. 2019) (citation omitted).
      A patent claim “is not proved obvious merely by demonstrating that
each of its elements was, independently, known in the prior art.” KSR,
550 U.S. at 418. An obviousness determination requires finding “both ‘that
a skilled artisan would have been motivated to combine the teachings of the
prior art references to achieve the claimed invention, and that the skilled
artisan would have had a reasonable expectation of success in doing so.’”
Intelligent Bio-Sys., Inc. v. Illumina Cambridge Ltd., 821 F.3d 1359,
1367–68 (Fed. Cir. 2016) (citation omitted); see KSR, 550 U.S. at 418
(for an obviousness analysis, “it can be important to identify a reason that
would have prompted a person of ordinary skill in the relevant field to
combine the elements in the way the claimed new invention does”). Also,
“[t]hough less common, in appropriate circumstances, a patent can be
obvious in light of a single prior art reference if it would have been obvious
to modify that reference to arrive at the patented invention.” Arendi S.A.R.L.
v. Apple Inc., 832 F.3d 1355, 1361 (Fed. Cir. 2016).
      “Although the KSR test is flexible, the Board ‘must still be careful not
to allow hindsight reconstruction of references . . . without any explanation
as to how or why the references would be combined to produce the claimed
invention.’” TriVascular, Inc. v. Samuels, 812 F.3d 1056, 1066 (Fed. Cir.
2016) (citation omitted). Further, an assertion of obviousness “cannot be
sustained by mere conclusory statements; instead, there must be some

                                      19
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 21 of 86
IPR2021-00165
Patent 9,218,156 B2
articulated reasoning with some rational underpinning to support the legal
conclusion of obviousness.” KSR, 550 U.S. at 418 (quoting In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)); accord In re NuVasive, Inc., 842 F.3d
1376, 1383 (Fed. Cir. 2016) (stating that “conclusory statements” amount to
an “insufficient articulation[] of motivation to combine”; “instead, the
finding must be supported by a ‘reasoned explanation’” (citation omitted));
Magnum Oil, 829 F.3d at 1380 (“To satisfy its burden of proving
obviousness, a petitioner cannot employ mere conclusory statements. The
petitioner must instead articulate specific reasoning, based on evidence of
record, to support the legal conclusion of obviousness.”).


     D. Obviousness Ground Based on Dockser (Claims 1, 2, and 16)
                                 1. Dockser
      Dockser discloses performing floating-point operations with a
floating-point processor having “selectable subprecision.” Ex. 1007,
code (57), ¶¶ 15, 17. “A floating-point representation of a number
commonly includes a sign component, an exponent, and a mantissa. To find
the value of a floating-point number, the mantissa is multiplied by a base
(commonly 2 in computers) raised to the power of the exponent. The sign is
applied to the resultant value.” Id. ¶ 1. “The precision of the floating-point
processor is defined by the number of bits used to represent the mantissa.
The more bits in the mantissa, the greater the precision.” Id. ¶ 2. “The
precision of [a] floating-point processor generally depends on the particular
application. For example, the ANSI/IEEE-754 standard (commonly
followed by modern computers) specifies a 32-bit single format having a
1-bit sign, an 8-bit exponent, and a 23-bit mantissa.” Id. “Higher precision
results in a higher accuracy, but commonly results in increased power

                                      20
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 22 of 86
IPR2021-00165
Patent 9,218,156 B2
consumption.” Id. Dockser explains that the performance of floating-point
operations also can be computationally inefficient because “[w]hile some
applications may require [high] types of precision, other applications may
not.” Id. ¶ 3. For example, “some graphics applications may only require a
16-bit mantissa,” such that “any accuracy beyond 16 bits of precision tends
to result in unnecessary power consumption,” but other applications may
require “greater precision.” Id. Accordingly, there was “a need in the art for
a floating-point processor in which the reduced precision, or subprecision, of
the floating-point format is selectable.” Id.
      Figure 1 of Dockser is reproduced below.




                                      21
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 23 of 86
IPR2021-00165
Patent 9,218,156 B2
Figure 1 depicts floating-point processor (FPP) 100 including floating-point
register file (FPR) 110 for storing floating-point numbers, floating-point
controller (CTL) 130 “used to select the subprecision of the floating-point
operations using a control signal 133,” and floating-point mathematical
operator (FPO) 140 with components “configured to perform the
floating-point operations,” such as floating-point adder (ADD) 142 and
floating-point multiplier (MUL) 144. Id. ¶¶ 15, 18, 19.
      Figure 2 of Dockser is reproduced below.




Figure 2 depicts an exemplary data structure for floating-point register file
110 including 16 addressable register locations 200, each “configured to
store a 32-bit binary floating-point number” as “a 1-bit sign 202, an 8-bit
exponent 204, and a [23-bit] fraction 206.” Id. ¶ 17.




                                      22
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 24 of 86
IPR2021-00165
Patent 9,218,156 B2
      “[F]or each instruction of a requested floating-point operation, the
relevant computational unit . . . receive[s] from the floating-point register
file 110 one or more operands stored in one or more of the register
locations” and executes the instruction “at the subprecision selected by the
floating-point controller 130.” Id. ¶¶ 23–24. The precision of the
floating-point operation can be reduced by “caus[ing] power to be removed
from the floating-point register elements for the excess bits of the fraction
that are not required to meet the precision specified by the subprecision
select bits” written to the control register. Id. ¶¶ 6, 25–26. For example, “if
each location in the floating-point register file contains a 23-bit fraction, and
the subprecision required for the floating-point operation is 10-bits, only the
9 commonly significant bits (MSBs) of the fraction are required; the hidden
or integer bit makes the tenth.” Id. ¶ 26. “Power can be removed from the
floating-point register elements for the remaining 14 fraction bits.” Id.
      Alternatively, power can be removed in elements of “the logic in the
floating-point operator 140 that remains unused as a result of the
subprecision selected.” Id. ¶¶ 7, 27, 29, 32, Fig. 2 (depicting mantissa
fraction 206 as having portion 322 for powered bits and portion 324 for
unpowered bits). Figures 3A and 3B of Dockser show such removal of
power to the floating-point operator logic for a floating-point addition and
floating-point multiplication operation, respectively.




                                       23
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 25 of 86
IPR2021-00165
Patent 9,218,156 B2
      Figure 3B of Dockser is reproduced below.




Figure 3B depicts k-bit multiplicand 402 and k-bit multiplier 404 to be
multiplied together “using a shift-and-add technique,” where the
multiplication occurs in stages 410-1 through 410-m. Id. ¶¶ 30–31.
A partial product 420-i is generated for every bit in multiplier 404 at
corresponding stage 410-i and then left-shifted “as a function of the
multiplier bit with which it is associated, after which the operation moves on
to the next stage.” Id. ¶ 31. The partial products are eventually added
together to generate output value 430. Id. “[P]ower may be removed from
the logic used to implement the stages to the right of the line 405” indicating
the selected subprecision. Id. ¶¶ 32–33.


                                 2. Claim 1
      Petitioner explains in detail how Dockser teaches or suggests every
limitation of claim 1, relying on the testimony of Mr. Goodin as support.
See Pet. 9–38; Ex. 1003 ¶¶ 197–304.


                                      24
    Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 26 of 86
IPR2021-00165
Patent 9,218,156 B2
       Claim 1 recites a device comprising “at least one first low precision
high dynamic range (LPHDR) execution unit adapted to execute a first
operation on a first input signal representing a first numerical value to
produce a first output signal representing a second numerical value.”
Petitioner asserts that Dockser’s floating-point processor (FPP) is a “low
precision high dynamic range (LPHDR) execution unit.”2 Pet. 13–15.
According to Petitioner, Dockser’s FPP is incorporated in a computing
system, which is the claimed “device” comprising the FPP. Id. at 13 (citing
Ex. 1003 ¶ 197–198; Ex. 1007 ¶¶ 1, 15, 35–36). We agree with Petitioner.


                         a) “High Dynamic Range”
       With respect to the “high dynamic range” aspect of the LPHDR
execution unit, the claim requires that “the dynamic range of the possible
valid inputs to the first operation is at least as wide as from 1/65,000 through
65,000.” Petitioner asserts that Dockser’s FPP “uses an 8-bit floating-point
exponent . . . that provides an even higher dynamic range” than the 6-bit
floating-point exponent disclosed in the ’156 patent. Pet. 15 (citing
Ex. 1007 ¶ 17; Ex. 1001, col. 14, ll. 56–64). Petitioner’s assertion, which is
not disputed by Patent Owner, is adequately supported by the record.
       For example, Dockser’s register location 200 stores a 32-bit binary
floating-point number, in an IEEE-754 32-bit single format, with 8-bit
exponent 204. Ex. 1007 ¶¶ 2, 17, cited in Pet. 20. According to


2
  Petitioner also provides an “alternative mapping” where “the floating-point
operator (FPO) inside Dockser’s FPP” constitutes an LPHDR execution unit.
Pet. 14–15, 19, 21, 37. We need not evaluate those arguments because we
determine that Petitioner has made a sufficient showing based on the full
trial record that the FPP is an LPHDR execution unit.

                                      25
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 27 of 86
IPR2021-00165
Patent 9,218,156 B2
Mr. Goodin, the dynamic range of normal IEEE-754 operands would be
from around 2-126, which is much smaller than 1/65,000, to around 2127,
which is much larger than 65,000. Ex. 1003 ¶ 233, cited in Pet. 20.
We credit Mr. Goodin’s testimony on this point because it is consistent with
Dockser. See id.; Ex. 1007 ¶¶ 2, 16–17, 24. Thus, Petitioner has shown that
Dockser’s FPP meets the dynamic range limitation recited in claim 1.


                           b) “A First Operation”
      Claim 1 recites that the LPHDR execution unit is “adapted to execute
a first operation on a first input signal representing a first numerical value to
produce a first output signal representing a second numerical value.”
Petitioner argues that Dockser’s FPP is adapted to execute a “first operation”
(e.g., “reduced-precision multiplication”) on a “first input signal
representing a first numerical value” (i.e., input electrical signal representing
an operand received at the registers) to produce a “first output signal
representing a second numerical value” (i.e., output electrical signal
representing an operand sent to a register and then main memory).
Pet. 17–19.
      Patent Owner does not present an argument to specifically address this
argument and evidence. See PO Resp.; Sur-Reply.
      Based on our review of the totality of the evidence in this case, we
agree that Dockser’s FPP is adapted to execute the recited first operation.
Dockser’s FPP receives the operands as input values. Ex. 1007, Fig. 1.
Dockser’s FPP performs operations on the inputs via the FPP’s data paths
134–139 and components 140–144. Id. We agree with Petitioner that
Dockser teaches that the operand data to the FPP is a “first input signal
representing a first numerical value” because it represents the operand

                                       26
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 28 of 86
IPR2021-00165
Patent 9,218,156 B2
number. Id. ¶ 17. The FPP executes the operation and produces an “output
value,” or “output number,” which is represented by “output bits.” Id. ¶ 34.
In this way, that value is the recited “second numerical value.” See Pet.
17–19. We credit Mr. Goodin’s testimony on this point. Ex. 1003
¶¶ 224–227.
      We also credit Mr. Goodin’s analysis showing that Dockser’s
computing circuits “move” data between components, such as from memory
to the processor, via electrical signals. See id. ¶ 221 (citing Ex. 1014, col. 1,
ll. 36–37). On this issue, the record provides adequate support for
Mr. Goodin’s testimony. See Ex. 1007 ¶¶ 16–17; Ex. 1014, col. 1, ll. 36–37.
Thus, Petitioner has shown that signals represent the recited values.
      Considering all of the arguments and evidence in this case, Petitioner
has sufficiently shown that Dockser teaches that the LPHDR execution unit
is “adapted to execute a first operation on a first input signal representing a
first numerical value to produce a first output signal representing a second
numerical value,” as recited in claim 1. Pet. 15–20.


                             c) “Low Precision”
      As for the “low precision” aspect of the LPHDR execution unit,
Patent Owner argues that Dockser’s FPP is not an LPHDR execution unit
because the FPP is capable of both low and full precision operations. See
PO Resp. 15, 20–24. We disagree with Patent Owner’s argument and
underlying construction for the reasons discussed in Section II.B. Instead,
we agree with Petitioner that (1) the recited “low precision high dynamic
range (LPHDR) execution unit” does not exclude units that perform
operations at low and full precision, and (2) the degree of “low precision”



                                       27
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 29 of 86
IPR2021-00165
Patent 9,218,156 B2
required by the claim is defined in limitation 1B2. See, e.g., Pet. 14–15,
31–32; Reply 2–3.


                             d) Limitation 1B2
      Under the interpretation discussed in Section II.B, Petitioner has
shown that Dockser teaches the recited LPHDR execution unit. In
particular, Petitioner argues that the FPP is “low precision” because “‘the
precision’ of operations in the FPP is ‘reduced’” and because the FPP
“operates with the minimum imprecision” required by limitation 1B2.
Pet. 14–15 (quoting Ex. 1007 ¶ 14). Limitation 1B2 recites (emphasis
added):
      for at least X=5% of the possible valid inputs to the first
      operation, the statistical mean, over repeated execution of the
      first operation on each specific input from the at least X % of the
      possible valid inputs to the first operation, of the numerical
      values represented by the first output signal of the LPHDR unit
      executing the first operation on that input differs by at least
      Y=0.05% from the result of an exact mathematical calculation
      of the first operation on the numerical values of that same input.
We first analyze the “statistical mean” limitation before turning to the “exact
mathematical calculation” limitation.


                           (1) “Statistical Mean”
      Petitioner argues that a person of ordinary skill in the art would have
understood the “statistical mean” limitation
      in the context of the ’156 patent’s stated intent to claim not only
      “repeatable” deterministic embodiments like digital circuits that
      always produce the same output when repeating an operation on
      the same input, but also analog embodiments that are
      non-deterministic because they “introduce noise into their
      computations, so the computations are not repeatable.”


                                        28
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 30 of 86
IPR2021-00165
Patent 9,218,156 B2
Pet. 22 (quoting Ex. 1001, col. 4, ll. 11–17).
       In Petitioner’s view, for “non-deterministic embodiments,” the
statistical mean would be the average of “the different outputs produced by
the same operation on the same input.” Id. at 22. Petitioner argues that, for
“deterministic digital embodiments” like Dockser, the statistical mean is
“the same as the numerical value of the first output signal for any individual
execution of the first operation on each specific input, because that output is
always the same for any specific input.” Id. at 23. In Petitioner’s view,
repeatedly executing a multiplication operation using Dockser’s floating
point multiplier “on the same input (i.e., pair of operands) with the same
precision level yields the same result for every execution; therefore, the
statistical mean of the outputs is the same as the output for any single
execution.” Id.
      Patent Owner does not dispute this reasoning. See PO Resp.;
Sur-Reply.
      Based on the totality of the evidence, Petitioner’s analysis of
“deterministic digital embodiments” to address the “statistical mean”
limitation is adequately supported by the record. Pet. 23. We are persuaded
by Petitioner’s reasoning that the ’156 patent’s written description has both
analog and digital embodiments. See, e.g., Ex. 1001, col. 4, ll. 11–17,
col. 14, ll. 19–65, col. 17, ll. 12–18. Dockser uses “a conventional
floating-point multiplier.” Ex. 1007 ¶ 20. Petitioner adequately supports its
assertion that this is a deterministic digital circuit. Pet. 23 (citing
Ex. 1003 ¶ 242; Ex. 1011, col. 1, ll. 40–42). And we credit Mr. Goodin’s
testimony that, in such a digital circuit, a floating-point multiplier operating
on the same input with the same precision level yields the same result for



                                        29
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 31 of 86
IPR2021-00165
Patent 9,218,156 B2
every execution, and thus, the statistical mean is the same as the output for
any single execution. Ex. 1003 ¶ 243, cited in Pet. 23.


                   (2) “Exact Mathematical Calculation”
      As for the “exact mathematical calculation” limitation, Petitioner
argues that because Dockser performs a reduced precision multiplication, the
result of the operation differs from what would be the exact mathematical
result of the operation: “the (>32-bit) product that would result if the pair of
input 32-bit operands were multiplied without reducing precision.” Pet. 24
(emphasis omitted) (citing Ex. 1003 ¶ 245; Pet. App’x I.B).


                    (3) Y Relative Error for X Valid Inputs
      According to Petitioner, “Dockser discloses two precision-reducing
techniques that can be used separately or together.” Pet. 26 (citing
Ex. 1007 ¶¶ 4–7; Ex. 1003 ¶¶ 256–262). One technique removes power
from storage elements in the FPP registers that correspond to the excess,
dropped mantissa bits, which drops bits from the operands. Id. The other
technique “remov[es] power from elements within the multiplier logic that
computes the product of the operand mantissas.” Id. Petitioner asserts that
both techniques individually and in combination teach limitation 1B2.
      We determine that Petitioner has made a sufficient showing that
Dockser meets the recited requirements for low precision under the register
bit-dropping rationale. Patent Owner does not present arguments specific to
this technique. See PO Resp.; Sur-Reply. We need not evaluate Petitioner’s
alternative rationale based on the multiplier logic. Our reasoning follows.




                                       30
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 32 of 86
IPR2021-00165
Patent 9,218,156 B2
                            (4) Register Bit-Dropping
      Petitioner explains how Dockser teaches that “for at least X=5% of
the possible valid inputs to the first operation,” the statistical mean of the
results of executing the first operation “differs by at least Y=0.05%” from
the result of the exact mathematical calculation. Pet. 24–37. In Petitioner’s
view, the “possible valid inputs” in Dockser are “the set of possible normal
IEEE-754 32-bit single-format numbers forming pairs of operands in input
signals to the execution unit that can be multiplied together to produce an
output representing a numerical value (rather than, e.g., an
overflow/underflow exception).” Id. at 25. Petitioner argues that Dockser’s
FPP operates at a precision level meeting the claimed X and Y percentages
for such input pairs. Id.
      We agree. Dockser retains only some of the bits of a mantissa
fraction: in one example, the nine most-significant bits of the mantissa
fraction are retained, and the other 14 excess bits are dropped. Ex. 1007
¶¶ 25–28, cited in Pet. 25; Ex. 1003 ¶ 255. The outputs of Dockser’s
unpowered storage elements are tied to zero voltage. Ex. 1003 ¶ 270;
Ex. 1007 ¶¶ 26 (discussing removing power from the register elements for
the excess bits), 29 (discussing “unpowered bits”). With support from
Mr. Goodin and corroborating evidence, Petitioner shows that tying the
outputs of the unpowered storage elements for the 14 “excess” bits to zero
voltage would make those bits zeroes. Pet. 29 (citing Ex. 1003 ¶¶ 270–272).
      Multiplying two operands with excess bits dropped (representing
zero) reduces the output’s precision. Ex. 1007 ¶¶ 24–26. Petitioner
provides a representative example described by Mr. Goodin:
      the 23-bit sequence 01100000111100111001110 (representing a
      mantissa of 1.3787171840667724609375) would become


                                       31
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 33 of 86
IPR2021-00165
Patent 9,218,156 B2
      01100000100000000000000 (representing a mantissa of
      1.376953125) by zeroing the 14 right-most bits, and
      01000100110111000001000 (representing a mantissa of
      1.26898288726806640625)         would        become
      01000100100000000000000 (representing a mantissa of
      1.267578125).
Pet. 30 (citing Ex. 1003 ¶ 274). So the decrease in precision depends on the
number of mantissa bits dropped. See id.; see also Ex. 1003 ¶ 279. And we
agree with Petitioner that Dockser suggests that any desired number of
mantissa bits can be dropped. Pet. 32. For example, Dockser describes how
the precision is selectable. See Ex. 1007 ¶¶ 14–15, 17 (describing selectable
reduced precision), discussed in Pet. 5.
      Petitioner asserts that Dockser’s register bit-dropping technique meets
limitation 1B2 in two ways. Pet. 27–33. First, Petitioner presents results of
a software demonstration to show that Dockser’s 9 mantissa bits meets
limitation 1B2. Id. at 32–33. Second, Petitioner uses a pencil-and-paper
algebraic analysis to show that retaining 9 mantissa bits meets limitation
1B2. Id. at 33.
      As for the software demonstration, Petitioner states that “[g]iven the
massive number of possible inputs to Dockser’s FPP (including over
70 trillion possible pairs of normal IEEE-754 single-format mantissas),”
a person of ordinary skill in the art “would have performed Dockser’s FPP
operation in software to determine the fraction X of all possible valid inputs
that produce at least the claimed relative error Y when a given number of
mantissa bits are dropped.” Id. at 32–33. Petitioner states that Mr. Goodin
wrote a program to perform reduced precision multiplication retaining
9 mantissa bits and dropping the 14 excess bits as in Dockser that tested all
possible valid mantissa pairs and “produce[d] at least Y=0.05% relative



                                      32
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 34 of 86
IPR2021-00165
Patent 9,218,156 B2
error for 92.1% of possible valid inputs (greater than X=5%).” Id. at 32–33,
66–68 (citing Ex. 1003 ¶¶ 282–284, 414–424, 468–473).
      Patent Owner did not rebut this evidence. See PO Resp.; Sur-Reply.
      We are persuaded by Petitioner’s assertions about the recited X and Y
percentages, and we credit Mr. Goodin’s testimony on this issue, which is
supported by the record. See Ex. 1003 ¶¶ 414–428. In particular,
Mr. Goodin summarizes the results of the software program in the table
below. Id. ¶ 425.




The table shows the percentage of tested pairs that meet the claimed Y
percentage as output by the software program. Id. It also shows a
“Dockser’s X” percentage, which is adjusted to exclude possible overflow
and underflow pairs, that meets the claimed requirements. Id. The X value
is calculated by multiplying the percentage output by the software program
by an adjustment ratio. Id. The adjustment ratio is described in Appendix
I.E of Mr. Goodin’s declaration. Id. Mr. Goodin also explains that, if “the
‘exact mathematical calculation’ of multiplication of two single-format
floating-point operands is the product rounded or truncated to single format
(having a 23-bit-fraction mantissa), the claims are still met.” Id. ¶ 428. To
show this, Mr. Goodin wrote an alternative version of the program under this
assumption, which also gives results that meet the claim limitations. Id.




                                      33
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 35 of 86
IPR2021-00165
Patent 9,218,156 B2
After review of the arguments and evidence on these issues, we credit
Mr. Goodin’s software-based analysis. Id. ¶¶ 414–428.
         As for the algebraic analysis, Petitioner argues that a person of
ordinary skill in the art “would also have understood algebraically that
Dockser’s register bit-dropping technique meets [limitation 1B2], by
examining the absolute minimum relative error produced by zeroing certain
mantissa bit positions.” Pet. 33. Petitioner explains how over 12% of
possible input operands “have a zero as their most-significant (leftmost)
mantissa fraction bit and ones as their tenth and eleventh fraction bits,” such
that retaining only 9 mantissa bits of operands would result in “every input
in that 12% produc[ing] at minimum 0.097% relative error.” Id. at 33, 69–73
(citing Ex. 1003 ¶¶ 285–286, 429–448).
         Patent Owner did not rebut this evidence. See PO Resp.; Sur-Reply.
         We are persuaded by Petitioner’s algebraic method showing the
recited X and Y percentages, and credit Mr. Goodin’s testimony on this
issue. See Ex. 1003 ¶¶ 429–448. Under this reasoning, “for the 12.5% of all
possible MA [mantissa] values with zero in the first fraction bit and ones in
the (K + 1)th and (K + 2)th fraction bits,” the following inequality holds
“when Dockser’s register bit-dropping truncates the operands to K fraction
bits”:




Id. ¶ 444.




                                         34
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 36 of 86
IPR2021-00165
Patent 9,218,156 B2
         The table below shows the results of evaluating Equation C with K=9,
K=8, K=7, and K=5 retained fraction bits as the selected precision level. Id.
¶ 448.




The table above shows that the values of K meet the ’156 patent’s claimed
minimum X and Y. Id. After review of the arguments and evidence on
these issues, we credit Mr. Goodin’s algebraic analysis. Id. ¶¶ 429–448.


                           e) “Control the Operation”
         Lastly, claim 1 recites “at least one first computing device adapted to
control the operation of the at least one first LPHDR execution unit.”
Petitioner asserts that Dockser’s main processor meets the computing device
limitation. Pet. 38. Patent Owner does not provide evidence or argument
specific to this limitation. We agree with Petitioner because Dockser’s
processor writes subprecision select bits to the FPP’s control register, and in
at least this way, Dockser’s main processor is adapted to control the FPP’s
operation by specifying its precision level. See Ex. 1007 ¶¶ 15, 18, 25, 35.
We credit Mr. Goodin’s testimony on this issue, which is supported by the
evidence of record. See Ex. 1003 ¶ 304.


                     f) Objective Indicia of Nonobviousness
         In addition to its argument based on the interpretation of “low
precision high dynamic range (LPHDR) execution unit,” Patent Owner

                                        35
    Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 37 of 86
IPR2021-00165
Patent 9,218,156 B2
argues that objective indicia of nonobviousness demonstrate that the
challenged claims would not have been obvious to a person of ordinary skill
in the art. PO Resp. 48–74. Because the parties largely refer to the
challenged claims collectively in their arguments regarding objective indicia,
we do so as well and now address those arguments as applied to all of the
claims challenged as obvious over Dockser alone or the combination of
Dockser and Tong, i.e., claims 1, 2, 16, and 33, which we refer to as the
“Dockser/Tong-challenged claims.”3 See id.; Reply 19–30; Sur-Reply
18–26.
       “In order to accord substantial weight to secondary considerations in
an obviousness analysis, the evidence of secondary considerations must have
a nexus to the claims, i.e., there must be a legally and factually sufficient
connection between the evidence and the patented invention.” Fox Factory,
Inc. v. SRAM, LLC, 944 F.3d 1366, 1373 (Fed. Cir. 2019) (citations and
internal quotation marks omitted). “The patentee bears the burden of
showing that a nexus exists.” Id. “To determine whether the patentee has
met that burden, we consider the correspondence between the objective
evidence and the claim scope.” Id. A patentee is entitled to a rebuttable
presumption of nexus “when the patentee shows that the asserted objective


3
 As explained below, we determine that Petitioner has not proven that
certain claims are unpatentable over the combinations of Dockser and
MacMillan, and Dockser, Tong, and MacMillan, because Petitioner has not
sufficiently shown a reason to combine with MacMillan. See infra
Sections II.F, II.G. Accordingly, we need not assess objective indicia of
nonobviousness with respect to those claims. See Mylan Pharms. Inc. v.
Res. Corp. Techs., Inc., 914 F.3d 1366, 1376 (Fed. Cir. 2019) (“Because we
agree with the Board that Appellants failed to establish a motivation to
modify compound 3I, we need not reach Appellants’ arguments regarding
objective indicia.”).

                                       36
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 38 of 86
IPR2021-00165
Patent 9,218,156 B2
evidence is tied to a specific product and that product ‘embodies the claimed
features, and is coextensive with them.’” Id. (citation omitted). Whether a
rebuttable presumption of nexus arises “turns on the nature of the claims and
the specific facts.” Teva Pharms. Int’l GmbH v. Eli Lilly & Co., 8 F.4th
1349, 1362 (Fed. Cir. 2021). “As part of the presumption analysis, the fact
finder must consider the unclaimed features of the stated products to
determine their level of significance and their impact on the correspondence
between the claim and the products.” Quanergy Sys., Inc. v. Velodyne Lidar
USA, Inc., 24 F.4th 1406, 1418 (Fed. Cir. 2022). When, “for example, the
patented invention is only a small component of the product tied to the
objective evidence, there is no presumption of nexus.” Henny Penny Corp.
v. Frymaster LLC, 938 F.3d 1324, 1333 (Fed. Cir. 2019). Absent a
presumption of nexus, a patent owner may “prove nexus by showing that the
evidence of secondary considerations is the ‘direct result of the unique
characteristics of the claimed invention.’” Fox Factory, 944 F.3d at
1373–74 (citation omitted).
      “Where the offered secondary consideration actually results from
something other than what is both claimed and novel in the claim, there is no
nexus to the merits of the claimed invention,” meaning that “there must be a
nexus to some aspect of the claim not already in the prior art.” In re Kao,
639 F.3d 1057, 1068–69 (Fed. Cir. 2011). On the other hand, there is no
requirement that “objective evidence must be tied exclusively to claim
elements that are not disclosed in a particular prior art reference in order for
that evidence to carry substantial weight.” WBIP, LLC v. Kohler Co.,
829 F.3d 1317, 1331 (Fed. Cir. 2016). A patent owner may show, for
example, “that it is the claimed combination as a whole that serves as a
nexus for the objective evidence; proof of nexus is not limited to only when

                                       37
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 39 of 86
IPR2021-00165
Patent 9,218,156 B2
objective evidence is tied to the supposedly ‘new’ feature(s).” Id. at 1330.
Ultimately, the fact finder must weigh the objective indicia evidence
presented in the context of whether the claimed invention as a whole would
have been obvious to an ordinarily skilled artisan. Id. at 1331–32;
Lectrosonics, Inc. v Zaxcom, Inc., IPR2018-01129, Paper 33 at 33 (PTAB
Jan. 24, 2020) (precedential).


                           (1) Industry Skepticism
      “If industry participants or skilled artisans are skeptical about whether
or how a problem could be solved or the workability of the claimed solution,
it favors non-obviousness. Doubt or disbelief by skilled artisans regarding
the likely success of a combination or solution weighs against the notion that
one would combine elements in references to achieve the claimed
invention.” WBIP, 829 F.3d at 1335. As evidence of alleged industry
skepticism, Patent Owner points to various statements made by employees
of Petitioner after meeting with Dr. Bates (the named inventor of the
’156 patent) in 2010. PO Resp. 49–53. According to Patent Owner,
Dr. Bates explained that floating point units programmed to perform




                                        Id. at 49–52 (citing Exs. 2009, 2027,
2028, 2030). Patent Owner contends that the cited statements from
Petitioner’s employees “express skepticism about utility of the low-precision
arithmetic performed by the large numbers of low-precision execution



                                      38
    Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 40 of 86
IPR2021-00165
Patent 9,218,156 B2
units,”4 which is a “key feature” of the challenged claims, and have a nexus
to the challenged claims because they were made in response to Dr. Bates’s
presentations. Id. at 52–53.
       Petitioner argues that Patent Owner’s evidence is irrelevant because
it is dated after the earliest possible effective filing date of the ’156 patent
(June 19, 2009). Reply 22. We disagree that evidence of industry
skepticism must itself be dated before the relevant invention. See WBIP,
829 F.3d at 1335–36 (considering evidence of skepticism dated after the
invention of the patent at issue); Pressure Prods. Med. Supplies, Inc. v.
Greatbatch Ltd., 599 F.3d 1308, 1319 (Fed. Cir. 2010) (same); Sur-Reply
19.
       We have reviewed the substance of the statements cited by Patent
Owner, though, and are not persuaded that they are probative of
nonobviousness. The statements by Petitioner’s engineers relate to whether
applications using “approximate” arithmetic would be commercially
valuable; they do not show skepticism as to whether or how a problem could
be solved or whether such applications would work. See WBIP, 829 F.3d at
1335. For example, Tom Dean stated that




4
 Claim 1 recites “at least one” LPHDR execution unit and thus is satisfied
by only a single LPHDR execution unit. The only challenged claims of the
’156 patent that arguably require a “large number[]” of LPHDR execution
units are challenged in Petitioner’s asserted grounds based on combinations
with MacMillan. See PO Resp. 50. For example, claim 3 recites that “the
number of LPHDR execution units in the device exceeds by at least one
hundred the non-negative integer number of execution units in the device
adapted to execute at least the operation of multiplication on floating point
numbers that are at least 32 bits wide.”

                                        39
Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 41 of 86
Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 42 of 86
Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 43 of 86
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 44 of 86
IPR2021-00165
Patent 9,218,156 B2
                          PO Resp. 54–58 (citing Ex. 2005). Patent Owner
argues that the unexpected nature of the results is “confirmed by skepticism
expressed by” David Patterson, Ph.D. (an employee of Petitioner and
“acclaimed expert in the field of computer science and computer
architecture” according to Patent Owner), and “further supported by Dockser
and Tong,” which teach that higher precision is “generally” needed. Id. at
55–57 (citing Ex. 1007 ¶ 3; Ex. 1008, 280; Ex. 2012; Ex. 2051 ¶¶ 124–125).
      The cited evidence, however, does not establish a difference between
the alleged results and the closest prior art. Dr. Bates’s presentation includes
                                              Ex. 2005, 11; see PO Resp. 56.
In this case, however, the closest prior art is Dockser and Tong, both of
which teach reduced precision arithmetic and, importantly, show that high
performance with reduced precision was expected for certain applications.
See Reply 25; Ex. 1007 ¶ 3 (“[F]or certain applications, . . . a reduced
precision, may be acceptable, and for other applications, . . . a greater
precision may be needed.”); Ex. 1008, 273 (“[M]any programs which
manipulate human sensory inputs, e.g., speech and image recognition, suffer
no loss of accuracy with reduced bitwidth in the mantissa or exponent.”).”
Patent Owner contends that Dockser and Tong are not appropriate for
comparison because they do not “provide computing scale results” and have
an “entirely different focus on power savings.” Sur-Reply 21. We disagree.
As explained above, we find that Dockser teaches the claim 1 LPHDR
execution unit performing the recited reduced precision arithmetic. See
supra Section II.D.2. Patent Owner’s only comparison, however, is to a
CPU without any reduced precision capability. See PO Resp. 56. We find
that Patent Owner’s evidence of alleged unexpected results does not weigh
in favor of nonobviousness of the Dockser/Tong-challenged claims because

                                       43
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 45 of 86
IPR2021-00165
Patent 9,218,156 B2
it does not establish a difference between the results and the closest prior art
and does not establish that such a difference would have been unexpected by
a person of ordinary skill in the art.


                    (4) Copying and Commercial Success
      “Copying may . . . be another form of flattering praise for inventive
features,” as “[t]he fact that a competitor copied technology suggests it
would not have been obvious.” WBIP, 829 F.3d at 1336 (citation omitted).
Copying “requires evidence of efforts to replicate a specific product.”
Wyers v. Master Lock Co., 616 F.3d 1231, 1246 (Fed. Cir. 2010). “This may
be demonstrated either through internal documents; direct evidence such as
disassembling a patented prototype, photographing its features, and using the
photograph as a blueprint to build a virtually identical replica; or access to,
and substantial similarity to, the patented product (as opposed to the
patent).” Iron Grip Barbell Co. v. USA Sports, Inc., 392 F.3d 1317, 1325
(Fed. Cir. 2004) (internal citations omitted). However, “a showing of
copying is only equivocal evidence of non-obviousness in the absence of
more compelling objective indicia of other secondary considerations.”
Ecolochem, Inc. v. S. Cal. Edison Co., 227 F.3d 1361, 1380 (Fed. Cir. 2000);
see also In re GPAC Inc., 57 F.3d 1573, 1580 (Fed. Cir. 1995) (“[M]ore than
the mere fact of copying by an accused infringer is needed to make that
action significant to a determination of the obviousness issue.” (citation
omitted)).
      Commercial success is typically shown with evidence of “significant
sales in a relevant market.” Ormco Corp. v. Align Tech., Inc., 463 F.3d
1299, 1312 (Fed. Cir. 2006) (citation omitted). “When a patentee can
demonstrate commercial success, usually shown by significant sales in a

                                         44
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 46 of 86
IPR2021-00165
Patent 9,218,156 B2
relevant market, and that the successful product is the invention disclosed
and claimed in the patent, it is presumed that the commercial success is due
to the patented invention.” J.T. Eaton & Co. v. Atlantic Paste & Glue Co.,
106 F.3d 1563, 1571 (Fed. Cir. 1997).
      Patent Owner argues that after Dr. Bates made his presentations to
Petitioner in 2010–2014, Petitioner copied Dr. Bates’s invention in its
Tensor Processing Unit (TPU) v2 and v3 products released in 2017–2018,
which “use execution units designed to perform operations using a
low-precision ‘floating point format called bfloat16’ in order to achieve
increased parallelism and scale.” PO Resp. 58–59 (citing Ex. 2010;
Ex. 2011, 9; Ex. 2034, 6; Ex. 2051 ¶¶ 126–127). The bfloat16 format
“keep[s] the same 8 bit exponent as found in 32-bit IEEE floating point” but
“reduces precision significantly by using only a 7-bit mantissa, as opposed
to the 23-bit mantissa of IEEE 32-bit floating point.” Id. at 59–60 (citing
Ex. 2041, 1–2). According to Patent Owner, Petitioner uses the TPUv2 and
TPUv3 products to “power all of its major products and services, including
Search, Translate, Photos, Assistant, and Gmail,” saving Petitioner “at least
$10 billion.” Id. at 62–63 (citing Exs. 2011, 2015–18, 2040). Patent Owner
argues that a nexus is presumed because the TPUv2 and TPUv3 products are
coextensive with the challenged claims. Id. at 60, 63–69 (citing Pet. 20–21,
73; Ex. 1003 ¶¶ 231–232; Ex. 2011; Ex. 2016; Ex. 2041, 7; Ex. 2049;
Ex. 2051 ¶¶ 129–138). Patent Owner further contends that, even if not
presumed, a nexus is shown by “internal communications among
[Petitioner’s] own engineers and executives” and Petitioner’s
communications with Dr. Bates. Id. at 60–63 (citing Exs. 2007, 2011, 2016,
2035–39, 2041, 2042, 2047, 2048).



                                      45
    Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 47 of 86
IPR2021-00165
Patent 9,218,156 B2
       We have reviewed the cited evidence and do not find it probative of
nonobviousness. First, we are not persuaded that a nexus should be
presumed because the TPU products are coextensive with the
Dockser/Tong-challenged claims, as Patent Owner contends. Petitioner and
Mr. Goodin identify a number of other allegedly material features of the
products that are not part of the claims: “Inter-Core Interconnect” (ICI),
“Systolic array,” “Two TensorCores per chip,” “High-bandwidth memory,”
“Liquid cooling,” and “Accelerated Linear Algebra compiler.” See Reply
26; Ex. 1071 ¶¶ 86–92. We focus on the first two features in particular
because the evidence of record characterizes them as significant.
       Regarding the ICI of the TPU products, Dr. Patterson stated the
following:
              So the critical feature of the supercomputer is the way
       they talk to each other – you know, the chips talk to each other.
       So what’s called – [Petitioner] invented something called ICI.
       It’s a custom Inter-Core Interconnect that they did custom for
       this design; it’s not some standard that you buy off the shelf.
       It runs at about 500 gigabits per section in both directions per
       link, and there’s four of those links.
Ex. 2012, 14:17–24 (emphasis added). An article authored by Dr. Patterson
and others5 states that “[t]he critical architecture feature of a modern
supercomputer is how its chips communicate: what is the speed of a link;
what is the interconnect topology; does it have centralized versus distributed
switches; and so on,” and the TPUv2 product has “four custom Inter-Core



5
 We disagree with Patent Owner that the materials cited herein are merely
“marketing documents.” See Conf. Tr. 13:18–24. Dr. Patterson’s comments
are from an audio transcription of a YouTube video filed by Patent Owner
(Ex. 2012), and the article is from the publication Communications of the
ACM (Ex. 2016). See PO Resp. ix.

                                      46
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 48 of 86
IPR2021-00165
Patent 9,218,156 B2
Interconnect (ICI) links, each running at 496Gbits/s per direction.”
Ex. 2016, 69; see id. at 70, 72, Fig. 2 (showing that ICI is part of the TPUv3
product as well); Ex. 1071 ¶ 87.
      Regarding the systolic array architecture of the TPU products,
Dr. Patterson stated as follows:
             This systolic array idea brought back from the past that
      probably cut the energy costs in half for the multiplier, which is
      a lot of it. And then it was domain-specific. So a lot of the things
      that are complicated and area consuming on CPUs like branch
      predictors and caches – CPUs are covered with caches – they’re
      not there because they’re not helpful for this application. It was
      better to use more multiple units and dedicated memory units.
      So that saves energy and you could reuse the resources. So that
      was a big success.
Ex. 2012, 9:9–18 (emphasis added). He also agreed with an article
comparing the TPU to graphics processing units (GPUs) stating that “GPUs
incur high overhead in performance, area, and energy due to heavy
multithreading,” whereas “[t]he systolic organization of TPUs captures the
data reuse while being simple by avoiding multithreading.” Id. at
33:20–34:2. The article authored by Dr. Patterson and others includes
similar statements. Ex. 2016, 70 (“The TPUv2 node of the supercomputer
followed the main ideas of TPUv1: A large two-dimensional matrix multiply
unit (MXU) using a systolic array to reduce area and energy plus large,
software-controlled on-chip memories instead of caches.” (emphasis
added)), 74 (quoting the earlier article stating that the “systolic organization”
of the TPU captures data reuse “while being simple by avoiding
multithreading”); see Ex. 1071 ¶ 88.
      Patent Owner contends that Petitioner fails to show that the “features
are so critical that the TPUs are not ‘essentially the invention.’” Sur-Reply



                                       47
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 49 of 86
IPR2021-00165
Patent 9,218,156 B2
22. We are not persuaded. Petitioner does more than merely identify
unclaimed features of the TPU products. Petitioner cites evidence,
supported by the testimony of Mr. Goodin, showing that at least the ICI and
systolic array architecture materially affect the TPU products’ performance
and were viewed as critical, successful features that were reasons for the
TPU products’ improved performance. See Fox Factory, 944 F.3d at 1374
(“[I]f the unclaimed features amount to nothing more than additional
insignificant features, presuming nexus may nevertheless be appropriate.”),
1375–76 (noting that the challenged patent and the patent owner’s
“marketing materials confirm that the forwardly protruding tooth tips, hook
features, and mud clearing recesses each materially impacts the functioning
of a chainring,” such that “[f]or each of these features that the Board
confirms is included in the [allegedly coextensive] chainrings, nexus can
only be presumed between the . . . chainrings and a patent claim if the claim
includes limitations relating to these features”). Patent Owner does not point
to any evidence indicating that view to be factually incorrect. See Ex. 1072,
147:15–149:2 (Dr. Khatri opining that “the TPUs have the features that . . .
are in these claims” and stating that he has no opinion “about what the TPUs
. . . might have in addition”). We find that a presumption of nexus is
inappropriate with respect to the TPU products.
      Regardless of whether a presumption of nexus applies, we are not
persuaded that Patent Owner has made a sufficient showing of nexus for two
reasons. First, Patent Owner’s nexus arguments are premised on the TPUv2
and TPUv3 products’ “low-precision” bfloat16 floating point format having
an 8-bit exponent and 7-bit mantissa. PO Resp. 58–59 (arguing that
Petitioner copied Dr. Bates’s invention by implementing “execution units
designed to perform operations using” the bfloat16 format), 63 (arguing

                                      48
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 50 of 86
IPR2021-00165
Patent 9,218,156 B2
commercial success due to the bfloat16 format using “low-precision
multipliers”). But “[l]ow-precision arithmetic—including LPHDR
multiplication—was not novel” and thus, cannot be the basis for a finding of
nexus. See Reply 20; Kao, 639 F.3d at 1068; Tokai Corp. v. Easton
Enterprises, Inc., 632 F.3d 1358, 1369 (Fed. Cir. 2011) (“If commercial
success is due to an element in the prior art, no nexus exists.”). Tong taught
such a format nine years before the ’156 patent. Tong describes two
different experiments emulating “different bitwidth FP units”: one that
“implements the IEEE-754 standard” and then varies the mantissa bitwidth
(shown in Figure 6), and another that “implements the IEEE-754 standard”
and then varies the exponent bitwidth (shown in Figure 7). Ex. 1008,
278–279. Thus, we agree with Mr. Goodin that a person of ordinary skill in
the art “would have understood that Tong’s Figure 6 . . . discloses a
floating-point format with an 8-bit exponent (which is the exponent size of
single-precision floating-point in the IEEE standard) . . . and a 7-bit
mantissa.” See Ex. 1071 ¶ 74 (citing Ex. 1008, 274, 278–279; Ex. 1003
¶ 330). Tong discloses that the 8-bit exponent/7-bit mantissa format
produced useful results for both a “neural network trainer” application
(ALVINN) and a “speech recognition program” (Sphinx III). See Ex. 1008,
278–279; Ex. 1071 ¶ 75. Notably, these applications mirror Dr. Bates’s
2013 presentation discussing                                               See
Ex. 2005, 12–13.
      To be sure, the fact that the 8-bit exponent/7-bit mantissa format was
known in the prior art is not dispositive. See WBIP, 829 F.3d at
1330–31. “Commercial success, for example, may be linked to an
individual element or, in other circumstances, it could be linked to the
inventive combination of known elements.” Id. at 1332. Patent Owner,

                                       49
    Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 51 of 86
IPR2021-00165
Patent 9,218,156 B2
however, has not identified and explained a specific combination of
elements (as opposed to just the “low-precision” bfloat16 floating point
format) that could serve as a nexus for the evidence of alleged copying and
commercial success.6 See PO Resp. 58–59, 63.
       Second, when arguing that the TPUv2 and TPUv3 products meet the
X and Y percentage limitations of claim 1, Patent Owner points to the
bfloat16 floating point format with a 7-bit mantissa and states that Petitioner
argues in the Petition (with respect to Dockser) that “utilizing 7 bits of
mantissa in multiplication operations results in a minimum of 12% of valid
floating point 32 inputs producing at least 0.39% relative error compared to
the exact mathematical calculation of a full-precision multiplication on those
same inputs.” Id. at 67–68 (citing Pet. 73; Ex. 2051 ¶¶ 135–136). Patent
Owner does not explain, however, how the cited analysis of how Dockser
teaches the X and Y percentage limitations applies to the TPUv2 and TPUv3
products. As Petitioner points out, Patent Owner “does not even attempt to
demonstrate that [Petitioner’s] TPUs perform the same bit-dropping
techniques as Dockser.” See Reply 27. Patent Owner has not established a
sufficient nexus between the alleged copying and commercial success of the
TPUv2 and TPUv3 products and the Dockser/Tong-challenged claims.
       Finally, we note that Patent Owner’s evidence of commercial success
would be unpersuasive even if Patent Owner had established a nexus. Patent
Owner’s sole support for the alleged commercial success of the TPUv2 and




6
 To the extent Patent Owner alleges commercial success from Petitioner
“[u]sing hundreds of thousands of these low-precision TPU v2 and v3
devices,” we note again that claim 1 recites “at least one” LPHDR execution
unit and thus is satisfied by a single unit. See PO Resp. 63.

                                       50
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 52 of 86
IPR2021-00165
Patent 9,218,156 B2
TPUv3 products is an article in PCMag India. See PO Resp. 63 (citing
Ex. 2017). That article states in relevant part:
             As AI and Machine Learning advanced, [Petitioner] was
      faced with the proposition of doubling the number of data centers
      it operates to handle the increased workloads. Building multiple
      data centers to handle the growing amounts of data sets could
      have easily cost the company anything above $10 billion.
             So [Petitioner] decided to take another route by optimizing
      its current data centers for better efficiency. The search giant in
      late 2013 decided to produce a custom chip in order to improve
      cost-performance over the GPUs it had deployed. Thus the first
      TPU was born.
Ex. 2017, 3 (emphasis added). The above statement as to how much “could
have” been saved is too speculative to reach a conclusion of commercial
success. See id. It also pertains to Petitioner’s “first” TPU, not the TPUv2
and TPUv3 products that use the bfloat16 format. See id.; Ex. 2016, 69
(“Quantized arithmetic—8-bit integer instead of 32-bit floating point (FP)—
can work for inference like in TPUv1 but reduced-precision training is an
active research area.”).
      Accordingly, we find that Patent Owner’s evidence of alleged copying
and commercial success does not weigh in favor of nonobviousness of the
Dockser/Tong-challenged claims.


                                g) Conclusion
      Based on all of the evidence of record, including evidence of objective
indicia of nonobviousness submitted by Patent Owner, we determine that
claim 1 would have been obvious based on Dockser under 35 U.S.C.
§ 103(a).




                                       51
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 53 of 86
IPR2021-00165
Patent 9,218,156 B2
                             3. Claims 2 and 16
      Claim 2 depends from claim 1, and recites that “the at least one first
computing device comprises at least one of a central processing unit (CPU),
a graphics processing unit (GPU), a field programmable gate array (FPGA),
a microcode-based processor, a hardware sequencer, and a state machine.”
In Petitioner’s view, only one of the alternatives recited in claim 2 needs to
be met. Pet. 38–39. We agree because claim 2 recites “at least one of,”
which indicates that what follows should be read disjunctively. Petitioner
asserts that Dockser’s “main processor” is “a ‘general purpose processor’
implementable as a ‘state machine’ as claimed.” Id. at 39 (citing Ex. 1007
¶¶ 15, 35).
      Claim 16 is an independent claim that recites a “device comprising:
a plurality of components comprising: at least one first” LPHDR execution
unit having the same properties as recited in claim 1. That is, claim 16 is
similar to claim 1 except that it adds “a plurality of components comprising”
and lacks “at least one first computing device adapted to control the
operation of the at least one first LPHDR execution unit” at the end.
According to Petitioner, Dockser’s computing system has a plurality of
components: a main processor and an FPP. Id. (citing Ex. 1003 ¶ 307).
Petitioner, alternatively, argues that, if claim 16 were interpreted to require
that a plurality of components be included in a single LPHDR execution
unit, Dockser’s FPP has multiple components: registers, controller, and
FPO, which also has an adder and multiplier. Id. at 40 (citing Ex. 1003
¶ 308; Ex. 1007 ¶¶ 15, 19–22). Petitioner relies on its analysis of claim 1 to
address the remaining limitations, which are also found claim 1. Id. (citing
Ex. 1003 ¶¶ 309–310). We agree with Petitioner that Dockser’s computing
system has a plurality of components under either interpretation. See id. at

                                       52
    Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 54 of 86
IPR2021-00165
Patent 9,218,156 B2
39–40. Those components are described in the cited parts of Dockser.
Ex. 1007 ¶¶ 15, 19–22.
       Patent Owner does not argue separately claims 2 and 16 in its
Response, only disputing Petitioner’s contentions regarding the LPHDR
execution unit recited in claims 1 and 16. PO Resp. 20–24. We have
reviewed Petitioner’s contentions regarding claims 2 and 16, which are
consistent with the disclosure of Dockser and supported by the testimony of
Mr. Goodin, taken into account evidence of objective indicia of
nonobviousness submitted by Patent Owner, and are persuaded that
Petitioner has proven, by a preponderance of the evidence, that claims 2 and
16 would have been obvious based on Dockser under 35 U.S.C. § 103(a).
See Pet. 38–40; Ex. 1003 ¶¶ 305–310; supra Section II.D.2(e).


    E. Obviousness Ground Based on Dockser and Tong (Claims 1, 2, 16,
                                 and 33)
                                  1. Tong
       Tong is an IEEE journal article entitled “Reducing Power by
Optimizing the Necessary Precision/Range of Floating-Point Arithmetic.”
Ex. 1008, 273. Tong teaches reducing power consumption by minimizing
the bitwidth representation of floating-point data. Id. According to Tong,
using a variable bitwidth floating-point unit saves power. Id.


                           2. Claims 1, 2, and 16
       Petitioner argues that the subject matter of claim 1 would have been
obvious over the combination of Dockser and Tong7 for reasons similar to

7
 Petitioner provides evidence supporting its contention that Tong is a prior
art printed publication under 35 U.S.C. § 102(b). See Pet. 40–41 (citing

                                     53
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 55 of 86
IPR2021-00165
Patent 9,218,156 B2
those analyzed with respect to Dockser alone. See Pet. 41–45. Additionally,
Petitioner asserts that “Tong, like Dockser, . . . confirms that the number of
mantissa bits used in a high-dynamic-range floating-point execution unit was
a well-known result-effective variable impacting power consumption and
precision.” Id. at 41 (citing Ex. 1008, 273–278; Ex. 1003 ¶¶ 312–313).
Petitioner relies on Tong’s Figure 6, reproduced below with Petitioner’s
annotations. Id. at 42.




Tong’s Figure 6, above, is a line graph showing program accuracy, from 0%
to 100%, on the vertical axis and mantissa bitwidth, from 1 to 23, on the
horizontal axis. Id. at 41–42. The figure shows this data for five programs:
ALVINN, Bench22, Fast DCT, PCASYS, and Sphinx III. Id. The programs
implement different signal-processing tasks. See, e.g., Ex. 1008, 278
(Table IV). ALVINN, for example, is a neural network trainer that uses
backpropagation. Id. And Sphinx III is a speech-recognition program. Id.


Ex. 1025 ¶¶ 8–11; Ex. 1026, 27; Ex. 1027, 27). Patent Owner does not
assert otherwise in its Response, and we agree that Tong is prior art for the
reasons stated by Petitioner.

                                      54
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 56 of 86
IPR2021-00165
Patent 9,218,156 B2
      Petitioner argues that “Tong’s teaching that a precision level retaining
5 mantissa fraction bits is sufficient in some applications (including
ALVINN and Sphinx [III]) would have motivated a [person of ordinary skill
in the art] to configure Dockser’s FPP . . . to operate at a selected precision
level retaining as few as 5 mantissa fraction bits.” Pet. 43–44. According to
Petitioner, one of ordinary skill in the art would have done so “to conserve
power when running those applications, or others empirically determined
(using Tong’s techniques) to not require greater precision.” Id. (citing
Ex. 1003 ¶ 322). Petitioner also concludes that “[d]etermining the optimum
range of imprecision to achieve the best power reduction without sacrificing
accuracy for a particular application was a matter of routine optimization of
a result-effective variable.” Id. at 45.
      Patent Owner argues that, because Dockser lacks an LPHDR
execution unit and Tong does not remedy that deficiency, the Dockser-Tong
combination does not render obvious any challenged claim. PO Resp.
24–25; Sur-Reply 9. We disagree for the reasons discussed above regarding
Petitioner’s challenge based on Dockser alone. See supra Section II.D.2.
      Patent Owner further argues that Tong does not teach using only
5 mantissa bits, which means that the Dockser-Tong combination lacks the
imprecision required to meet the X and Y values recited in limitation 1B2.
PO Resp. 25. In Patent Owner’s view, “Tong teaches that at least 11
mantissa bits are required for consistent performance, even for ‘programs
dealing with human interfaces [that] process sensory data with intrinsically
low resolutions.’” Id. (quoting Ex. 1008, 278). According to Patent Owner,
“Petitioner makes no effort to show that arithmetic with the ‘required’ 11-bit
mantissa is an LPHDR operation and meets the X/Y limitations of the
claims.” Id.

                                       55
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 57 of 86
IPR2021-00165
Patent 9,218,156 B2
      Yet Patent Owner’s argument about an 11-bit mantissa (id.) does not
squarely address Petitioner’s obviousness rationale—i.e., that one of
ordinary skill in the art would have been motivated to configure Dockser’s
FPP to operate at a “selected precision level” according to Tong (Pet.
43–45). Specifically, Petitioner’s rationale proposes using a selected
precision level “retaining as few as 5 mantissa fraction bits.” Id. at 43–44.
Thus, we disagree with Patent Owner’s argument about an 11-bit mantissa.
See PO Resp. 25; Sur-Reply 9. For this reason, we do not credit Dr. Khatri’s
testimony on this point. Ex. 2051 ¶ 77.
      Petitioner used a software program to determine the relative error
when retaining 5 mantissa fraction bits—i.e., the number of bits that
Dockser would use under Petitioner’s proposed combination with Tong.
Pet. 44 (citing Ex. 1003 ¶ 324). Also, the algebraic analysis cited by
Petitioner uses 5 mantissa fraction bits. Id. (citing Ex. 1003 ¶ 324).
      Petitioner adequately shows that the X and Y limitations are met for
the 5 mantissa bit rationale. Id. at 43–45. In particular, Mr. Goodin’s
software program shows that “when retaining 5 mantissa fraction bits in
view of Tong, Dockser’s register bit-dropping technique produces at least
Y=0.05% relative error for 99.45% of possible valid inputs, and Dockser’s
logic bit-dropping technique produces at least Y=0.05% relative error for
99.47% of possible valid inputs,” and the algebraic analysis shows that
“Dockser’s register bit-dropping technique when retaining 5 mantissa
fraction bits produces a minimum of 1.56% relative error (greater than
Y=0.05%) for over 12% of possible valid inputs (greater than X=5%).”
Ex. 1003 ¶ 324. After review of the arguments and evidence on these issues,
we credit Mr. Goodin’s algebraic analysis and software-based analysis. See
id., App’x I.B–D.

                                      56
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 58 of 86
IPR2021-00165
Patent 9,218,156 B2
      Although Patent Owner does not present argument specifically
directed to Mr. Goodin’s software-based or algebraic analysis, Patent Owner
argues that one of ordinary skill in the art would not have chosen a 5-bit
mantissa: “Tong’s experimental results show that using fewer than 11
mantissa bits unacceptably reduces accuracy for the benchmark applications
that were specifically selected (from a category of programs) for their high
tolerance for imprecision.” PO Resp. 25–26 (citing Ex. 2051 ¶ 78). To
illustrate this point, Patent Owner annotates Tong’s Figure 6, reproduced
below.




Tong’s Figure 6, above, shows the experimental results with color
annotations indicating “the precision levels suitable for general-purpose
operation (green), those at which a significant percentage of applications
begin to produce unacceptable results (yellow), and finally, levels of
precision that are unsuitable for most testing benchmarks (red).” Id. (citing
Ex. 2051 ¶ 79).


                                      57
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 59 of 86
IPR2021-00165
Patent 9,218,156 B2
      Patent Owner argues that there is no motivation to combine Dockser
and Tong because “there is no evidence to show that a [person of ordinary
skill in the art] would have chosen Tong’s 5-bit examples over the 7, 9, or
11-bit examples.” Id. at 26–27; see also Sur-Reply 9–10. According to
Patent Owner, “Tong does not disclose any extra capability that would have
motivated a [person of ordinary skill in the art] to use it with Dockser.”
PO Resp. 26–27 (citing Ex. 2051 ¶¶ 81–82). In Patent Owner’s view,
Petitioner relies on hindsight to choose 5 bits and does not offer any
differences between Dockser and the claimed invention or other
non-hindsight motivation to combine with Tong. Id. According to Patent
Owner, “Tong teaches that ‘it appears inevitable that some fraction of our
operands will require full IEEE standard precision,’” which means that a
person of ordinary skill in the art would not have been motivated to operate
only in 5-bit, 7-bit, or 9-bit modes as Petitioner suggests. Sur-Reply 10
(quoting Ex. 1008, 280).
      We disagree with Patent Owner’s arguments directed to the rationale
for using 5 mantissa bits. See PO Resp. 25–27; Sur-Reply 9–10.
Petitioner’s reasoning for the 5-bit example is “to conserve power when
running [certain] applications, or others empirically determined (using
Tong’s techniques) to not require greater precision.” Pet. 43–44 (citing
Ex. 1003 ¶ 322). For example, in the ALVINN and Sphinx III line plots in
Tong’s Figure 6, Petitioner added a dashed red line extending vertically
through the data points with a mantissa bitwidth of 5. Id. at 42. Petitioner
asserts that, for these programs, Tong teaches that “the accuracy does not
change significantly with as few as 5 mantissa [fraction] bits.” Id. (quoting
Ex. 1008, 278). In Petitioner’s view, Tong omits unnecessary bits to reduce
waste and power consumption. Id. at 42–43. Petitioner characterizes Tong

                                      58
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 60 of 86
IPR2021-00165
Patent 9,218,156 B2
as “[h]aving empirically determined the minimum number of mantissa bits
necessary to maintain acceptable accuracy of particular applications.” Id. at
43 (citing Ex. 1008, 273, 274, 279, 284).
      Petitioner’s assertions are adequately supported by the record. We are
persuaded by Petitioner’s reliance on Tong’s Figure 6 to determine how
many bits are needed in a particular application. See id. at 42–44. That is,
Petitioner’s choice is not arbitrary or solely based on the ’156 patent’s
written description alone. See PO Resp. 25–26. Rather, Petitioner’s choice
of 5 bits is based on Tong’s experimental results for certain applications.
See Pet. 42–44. We emphasize certain because Petitioner is not saying that
5-bits is suitable for every application. See id. Full precision may be needed
some of the time. See Ex. 1008, 280; Sur-Reply 9–10. But, even if Tong
teaches that some applications begin to produce unacceptable results below
11-bits, as Patent Owner notes (PO Resp. 25–26), Tong teaches that 5-bits
would be enough for certain ones: ALVINN and Sphinx III shown in Tong’s
Figure 6. Pet. 42–44.
      Patent Owner argues that “Tong lists those two applications amongst
a great many other disclosed applications that all require full precision, and
that a [person of ordinary skill in the art] would therefore not be motivated
to configure Dockser to operate with a 5-bit mantissa just to support those
two applications given the far larger number of disclosed applications that
require full precision.” Sur-Reply 9; PO Resp. 25–27.
      We disagree with Patent Owner’s argument here because the record
adequately supports Petitioner’s rationale that “[d]etermining the optimum
range of imprecision to achieve the best power reduction without sacrificing
accuracy for a particular application was a matter of routine optimization of
a result-effective variable,” and Tong, in particular, shows an optimization

                                      59
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 61 of 86
IPR2021-00165
Patent 9,218,156 B2
for a particular program. Pet. 43–45. The record adequately supports
Petitioner’s reasoning here: Dr. Khatri testified that “exact computing . . .
takes up a lot of power.” Ex. 1072, 47:2–5. Mr. Goodin explained that
reducing precision may reduce power consumption. See, e.g., Ex. 2043,
34:21–35:4; see also id. at 30:22–31:9 (discussing how selectable precision
may achieve power savings). And we credit Mr. Goodin’s explanation of
how Tong achieves this for certain applications. See, e.g., Ex. 1003
¶¶ 31–33 (citing Ex. 1008, 273, 277–279), 322, 325 (citing Ex. 1008, 278).
That is, Petitioner’s proposed combination would omit unnecessary bits to
reduce waste and power consumption. Pet. 43–45.
      Thus, we find Patent Owner’s arguments regarding the combination
with Tong unavailing. See PO Resp. 25–27; Sur-Reply 9–10. For the same
reasons, we do not credit Dr. Khatri’s testimony on this point. Ex. 2051
¶¶ 77–82.
      For the reasons discussed, we determine that Petitioner provides
articulated reasoning, supported by rational underpinnings, why one of
ordinary skill in the art would have combined Dockser and Tong. See KSR,
550 U.S. at 418. Based on the Petition, we find that a person of ordinary
skill in the art would have modified Dockser with Tong to arrive at the
device recited in claim 1 with a reasonable expectation of success. Based on
all of the evidence of record, including evidence of objective indicia of
nonobviousness submitted by Patent Owner, we determine that claim 1
would have been obvious based on Dockser and Tong under 35 U.S.C.
§ 103(a).
      Petitioner asserts that the subject matter recited in claims 2 and 16
would have been obvious over the combination of Dockser and Tong for
reasons similar to those presented in the ground based on Dockser alone.

                                       60
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 62 of 86
IPR2021-00165
Patent 9,218,156 B2
See Pet. 43–45. For the reasons discussed above and the reasons discussed
for Dockser alone, Petitioner’s contentions are supported by Mr. Goodin’s
testimony and are persuasive. See id.; supra Section II.D.3. Patent Owner
does not present arguments specifically directed to these claims. See
PO Resp.; Sur-Reply. We disagree with Patent Owner’s arguments
regarding claim 1 based on the full trial record for the same reasons
explained above. See supra Section II.D.2. Based on all of the evidence of
record, including evidence of objective indicia of nonobviousness submitted
by Patent Owner, we determine that claims 2 and 16 would have been
obvious based on Dockser and Tong under 35 U.S.C. § 103(a).


                                 3. Claim 33
      Claim 33 recites a “device comprising a computer processor and a
computer-readable memory storing computer program instructions, wherein
the computer program instructions are executable by the processor to
emulate a second device comprising: a plurality of components comprising”
an LPHDR execution unit having the same properties as recited in claim 1.
Petitioner asserts that Tong teaches emulating, in software, different bitwidth
FP units to determine application accuracy. Pet. 46 (citing Ex. 1008, 278).
According to Petitioner, based on this teaching, one of ordinary skill in the
art would have been motivated “to emulate the Dockser/Tong device . . . in
software to assess the accuracy of applications running on the device at
selected precision levels, and a [person of ordinary skill in the art] would
have had a reasonable expectation of success in doing so.” Id. (citing
Ex. 1003 ¶¶ 328–329).
      Petitioner asserts that “[w]hen the Dockser/Tong device is ‘emulated
in software’ per Tong’s teachings, . . . the conventional and obvious

                                      61
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 63 of 86
IPR2021-00165
Patent 9,218,156 B2
implementation of such ‘software’ is ‘computer program instructions’ stored
in ‘a computer-readable memory’ and ‘executable by [a] processor’ within a
‘device’ (e.g., a computer) as claimed.” Id. (citing Ex. 1003 ¶ 330;
Ex. 1007 ¶ 36; Ex. 1029 ¶¶ 8, 9, 14; Ex. 1001, col. 25, ll. 58–60). For
reasons similar to those with respect to claim 1, Petitioner argues that a
person of ordinary skill in the art would have been motivated by Tong to use
a computer to emulate the combined teachings of Dockser and Tong,
“meeting the ‘second device’ [recited in claim 33]), which comprises a
plurality of components including a main processor and Dockser’s execution
unit.” Id. at 46–47 (citing Ex. 1003 ¶ 331). Petitioner argues that Tong
emulates a device in the same way as the ’156 patent does:
       Like the ’156 patent’s only examples of “emulat[ing] a . . .
       device” comprising LPHDR execution unit(s), Tong emulates
       the device by executing a software application program that runs
       thereon with arithmetic operations in the application program
       replaced by software simulations of the reduced-precision
       arithmetic the device would perform.
Id. at 47 (citing Ex. 1001, col. 17, ll. 5–19, col. 18, l. 52–col. 19, l. 11;
Ex. 1008, 278; Ex. 1003 ¶¶ 332–333).
       Patent Owner does not argue separately claim 33 in its Response, only
disputing Petitioner’s contentions regarding claim 1 and the alleged
motivation to combine Dockser and Tong, which we address above.
PO Resp. 24–26; see supra Section II.E.2. After review of the arguments
and evidence on these issues, we agree with Petitioner and credit
Mr. Goodin’s testimony. See Ex. 1003 ¶¶ 328–335.
       In particular, the ’156 patent describes code written in the
C programming language to perform the same arithmetic operations in the
same order using the same method as one implemented in hardware.



                                        62
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 64 of 86
IPR2021-00165
Patent 9,218,156 B2
Ex. 1001, col. 18, l. 52–col. 19, l. 11, cited in Pet. 47. We agree with
Petitioner that Tong similarly uses a computer program to simulate reduced
precision arithmetic that a hardware unit would perform. See Pet. 47. For
example, Tong uses an “FP software emulation package” to simulate
reduced precision arithmetic and determine “the relationship between
program accuracy and number of bits in FP representation.” Ex. 1008, 278,
cited in Pet. 47.
       Petitioner’s obviousness rationale—i.e., “to assess the accuracy of
applications running on the device at selected precision levels”—is
adequately supported by the record: Tong explains that the emulation
package was used to assess “different mantissa and exponent bitwidths.”
See Pet. 46 (citing Ex. 1008, 278). Petitioner’s assertion that software is
computer program instructions stored in a computer-readable memory and
executable by a processor within a computing device is adequately
supported by at least Mr. Goodin’s testimony and the evidence that he cites.
Id. at 46–47 (citing Ex. 1003 ¶ 330; Ex. 1007 ¶ 36; Ex. 1029 ¶¶ 8, 9, 14;
Ex. 1001, col. 25, ll. 58–60).
       For the same reasons discussed with respect to claims 1 and 16,
Petitioner has shown that the subject matter recited in claim 33 that is also
recited in claims 1 and 16 would have been obvious over the Dockser-Tong
combination. See supra Section II.E.2.
       We determine that Petitioner provides articulated reasoning, supported
by rational underpinnings, why one of ordinary skill in the art would have
combined Dockser and Tong. See KSR, 550 U.S. at 418. Based on the
Petition, we find that a person of ordinary skill in the art would have
modified Dockser with Tong to arrive at the device recited in claim 33 with
a reasonable expectation of success. Based on all of the evidence of record,

                                      63
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 65 of 86
IPR2021-00165
Patent 9,218,156 B2
including evidence of objective indicia of nonobviousness submitted by
Patent Owner, we determine that claim 33 would have been obvious based
on Dockser and Tong under 35 U.S.C. § 103(a).


  F. Obviousness Ground Based on Dockser and MacMillan (Claims 1–8
                                and 16)
                                1. MacMillan
      MacMillan is entitled “Circuit for Enhancing Performance of a
Computer for Personal Use.” Ex. 1009, code (54). MacMillan discloses
using Single Instruction Multiple Data (SIMD) parallel-processing
architectures for “adding supercomputer performance to a computer for
personal use.” Id. at col. 5, ll. 22–54. MacMillan’s computer system
comprises a “Host CPU” (i.e., “a 386, 486 or Pentium[] processor”) and
SIMD-random access memory (SIMD-RAM) devices. Id. at col. 9,
ll. 11–19, 30–31, Figs. 2, 3.




                                     64
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 66 of 86
IPR2021-00165
Patent 9,218,156 B2
      Figure 5 of MacMillan is reproduced below.




Figure 5 depicts SIMD-RAM device 254 comprising a plurality of
DRAMs 304 coupled to a plurality of processing elements 302 (PE0, PE1,
PE2, etc.) connected to SIMD bus 240. Id. at col. 12, ll. 35–43. MacMillan
discloses that “[e]ach PE contains a 32-bit wide data path and can perform
atomic operations on bits, bytes, 16-bit words, and 32-bit words,” “each
DRAM 304 is independently addressed by its PE,” “[i]nteger and floating
point accelerators could be included in each PE,” and “[e]xecution autonomy
is provided, in which specific PEs can be excluded from executing specific
instructions.” Id. at col. 12, ll. 47–59. MacMillan describes an example
architecture of a system with 256 PEs, but states that the disclosed
architecture “allows scaling to higher or lower density chips with more or
fewer PEs.” Id. at col. 12, l. 60–col. 13, l. 4, col. 13, ll. 38–41, col. 16,
ll. 20–22.



                                        65
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 67 of 86
IPR2021-00165
Patent 9,218,156 B2
                                    2. Claim 3
       Petitioner contends that claims 1–8 and 16 are unpatentable over
Dockser and MacMillan under 35 U.S.C. § 103(a). Pet. 47–55. Claim 3
depends from claim 2 (which depends from claim 1) and recites that “the
number of LPHDR execution units in the device exceeds by at least one
hundred the non-negative integer number of execution units in the device
adapted to execute at least the operation of multiplication on floating point
numbers that are at least 32 bits wide” (the “exceeds” limitation). Petitioner
relies on MacMillan for its teachings regarding multiple floating-point
execution units, and argues that a person of ordinary skill in the art “would
have been motivated to use Dockser’s FPP to implement each ‘floating-point
accelerator’ in the parallel PEs of MacMillan’s SIMD architecture to
increase performance speed as MacMillan teaches while lowering power
consumption as Dockser teaches.” Id. at 6, 49–50 (citing Ex. 1003
¶¶ 341–342). According to Petitioner, “using Dockser’s FPP as the
floating-point accelerator in MacMillan’s PE would have achieved the
predictable result of enabling the PEs to perform reduced-precision
floating-point arithmetic as taught by Dockser at reduced power.” Id. at 50
(citing Ex. 1003 ¶ 343; Ex. 1009, col. 12, ll. 47–49; Ex. 1024, col. 1,
ll. 43–58). Petitioner further contends that MacMillan’s SIMD parallel
processing is used in “the same types of computers for which Dockser’s FPP
provides ‘[p]ower management’” and would be beneficial for the same types
of “‘graphics applications’ for which Dockser teaches its FPP can
beneficially save power by reducing unnecessary precision.” Id. at
49–50 (citing Ex. 1003 ¶¶ 340, 344; Ex. 1007 ¶ 3; Ex. 1009, col. 1, ll. 6–9,
col. 5, ll. 22–45, col. 7, ll. 14–34).



                                         66
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 68 of 86
IPR2021-00165
Patent 9,218,156 B2
      With respect to the “exceeds” limitation in particular, Petitioner
asserts that MacMillan teaches 256 PEs, and the Dockser-MacMillan
combination would have a “single Host CPU floating-point unit” and at least
one FPP in each of the PEs, of which there can be “256 or more.” Id. at
51–53 (quoting Ex. 1009, col. 2, ll. 13–15; citing Ex. 1003 ¶ 361–362, 366).
Thus, in Petitioner’s proposed combined device based on Dockser and
MacMillan, the number of LPHDR execution units (Dockser FPPs) “exceeds
by over 100 its number (one) of traditional-precision execution units (the
single Host CPU floating-point unit).” Id. (citing Ex. 1003 ¶ 366).
      Patent Owner responds that a person of ordinary skill in the art would
not have been motivated to combine the teachings of Dockser and
MacMillan in the manner asserted by Petitioner. PO Resp. 36–37. Patent
Owner argues that “Dockser is focused on the objective of reducing power
consumption,” whereas “MacMillan is focused on a parallel architecture that
increases computational power, and not focused on reducing power
consumption.” Id. at 36 (citing Ex. 1009, col. 3, ll. 4–6; Ex. 2051
¶¶ 101–102). Patent Owner further contends that “[i]ncorporating Dockser’s
FPPs into MacMillan would . . . defeat MacMillan’s stated objective of
achieving a high-scale SIMD computer architecture at ‘lower system cost.’”
Id. at 36–37 (citing Ex. 1009, col. 5, ll. 58–59; Ex. 2051 ¶ 103). According
to Patent Owner, “Dockser’s FPPs are even larger than traditional
full-precision execution units because of the control circuitry needed to
implement the selectable subprecision modes,” such that “replacing the
full-precision execution units of MacMillan with Dockser FPP units would
require additional circuitry and chip space and would therefore increase
costs, while providing no benefit.” Id. at 37 (citing Ex. 2051 ¶ 104); see
also Sur-Reply 14–15.

                                      67
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 69 of 86
IPR2021-00165
Patent 9,218,156 B2
      Petitioner argues in its Reply that the asserted combination would
achieve both benefits of increasing performance speed (based on
MacMillan) and lowering power consumption (based on Dockser), and that
Patent Owner fails to provide supporting evidence for its argument that
incorporating Dockser’s FPP into the MacMillan device would increase
costs, and even if it had, economic reasons are not indicative of
nonobviousness. Reply 9–10 (citing Ex. 1071 ¶¶ 30–31).
      After reviewing the parties’ arguments and evidence, and the full
disclosures of Dockser and MacMillan, we agree with Patent Owner.
Dockser teaches a single FPP with “selectable subprecision” that is capable
of both full precision and reduced precision operations. See Ex. 1007,
code (57), ¶ 15. The FPP includes additional control circuitry, such as
floating-point controller 130 and control register 137, that allows selection
of a subprecision for floating-point operations. Id. ¶¶ 15, 18, Fig. 1.
Dockser describes “a variety of ways” in which “subprecision select bits
may be used to reduce the precision of a floating-point operation.” Id. ¶¶ 18,
23–34. Reduced precision can be achieved, with resultant power savings,
either by removing power from “floating-point register elements for the
excess bits of the fraction that are not required to meet the precision
specified by the subprecision select bits” or “removing power to the logic in
the floating-point operator 140 that remains unused as a result of the
subprecision selected.” Id. ¶¶ 4–7, 26–27. Mr. Goodin agrees that
Dockser’s FPP requires additional control circuitry to implement its
selectable subprecision. Ex. 2043, 43:21–45:9.
      MacMillan, by contrast, is heavily focused on avoiding increased
costs associated with added complexity. MacMillan states that “[i]f
supercomputing performance could be achieved in low cost computers, such

                                       68
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 70 of 86
IPR2021-00165
Patent 9,218,156 B2
as personal computers, this could dramatically expand the market for
personal computers.” Ex. 1009, col. 1, ll. 21–24. SIMD computing
capability can be added to personal computers, “resulting in much higher
performance computing at moderate cost.” Id. at col. 8, ll. 51–55.
MacMillan, however, describes numerous limitations of known SIMD
designs at the time, many of which relate to increased costs from added
complexity (e.g., additional registers), size, etc. See, e.g., id. at col. 2,
ll. 56–61 (“hav[ing] a large register set on each PE . . . increases die area per
PE, resulting in higher costs per PE”), col. 2, ll. 62–65 (“Adding pins can
reduce the PE-to-memory bottleneck, but leads to increased packaging costs.
It may also require tighter geometries or increased numbers of layers on
printed circuits boards, further increasing costs.”), col. 3, ll. 2–4 (“Adding
output buffers to drive increased pin counts also increases power dissipation
and hence power supply capacity and cost.”), col. 4, ll. 39–40 (“The PE
array[] disk may be limited in size due to technology or cost factors.”).
       Importantly, MacMillan states:
       Overcoming the above limitations would allow supercomputing
       performance to be provided in a low cost computer system for
       personal use, dramatically expanding the potential market for
       systems with supercomputer performance. To meet the cost
       objectives, the SIMD capabilities should not add significant
       complexity to the architecture of a computer system for personal
       use. The present invention addresses the above needs.
Id. at col. 5, ll. 38–45 (emphasis added). MacMillan’s disclosed
architecture—with multiple, less costly PEs operating in parallel to increase
computational power—is expressly intended to account for these limitations.
See id. at col. 5, ll. 44–45, col. 5, ll. 58–61 (the disclosed system with
“shared memory results in lower system cost and more flexibility in using
memory”), col. 6, ll. 1–10 (“Another aspect of the invention is that it shows


                                         69
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 71 of 86
IPR2021-00165
Patent 9,218,156 B2
how parallel SIMD processing can be added inexpensively to existing
system architectures. This cost-effective addition of parallel processing can
be made to popular, low cost computer systems running popular operating
systems . . . .”), col. 6, ll. 41–45, col. 16, ll. 14–27.
       In determining how a person of ordinary skill in the art would have
understood those disclosures, we credit the testimony of Dr. Khatri, which is
consistent with, and a logical reading of, Dockser and MacMillan. See Icon
Health & Fitness, Inc. v. Strava, Inc., 849 F.3d 1034, 1041 (Fed. Cir. 2017)
(stating that the Board “is permitted to weigh expert testimony and other
record evidence and, in so doing, rely on certain portions of an expert’s
declaration while disregarding others”). Specifically, the circuitry
implementing Dockser’s selectable subprecision is beyond that of a typical
full precision execution unit. Dr. Khatri testifies that
              [b]ecause Dockser’s execution unit is capable of
       full-precision, and uses conventional arithmetic units, a [person
       of ordinary skill in the art] would understand that it would have
       at least as many transistors and take up at least as much space as
       a conventional full-precision arithmetic unit, even when
       operating in a reduced-precision mode. Indeed, because
       Dockser’s execution unit includes additional control circuits for
       selecting reduced-precision modes, a [person of ordinary skill in
       the art] would expect it to be larger than a conventional
       full-precision execution unit, making it unsuitable for scaling,
       and therefore unsuitable for use in parallel processing arrays.
See Ex. 2051 ¶ 51. Petitioner’s asserted combination of incorporating
Dockser’s FPP into each of multiple PEs in MacMillan’s device “would
require additional circuitry and chip space and would therefore increase
costs,” “defeat[ing] MacMillan’s stated objective of achieving a highly
parallel SIMD computer architecture at ‘lower system cost.’” See id.
¶¶ 103–104. Again, MacMillan specifically counsels that to achieve its cost


                                          70
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 72 of 86
IPR2021-00165
Patent 9,218,156 B2
objectives, “SIMD capabilities should not add significant complexity to the
architecture of a computer system for personal use.” Ex. 1009, col. 5,
ll. 42–44. The combination proposed by Petitioner would do so.
MacMillan’s PEs already perform full precision operations; Dockser’s
selectable subprecision circuitry would add complexity beyond that of a
typical full precision execution unit. See Ex. 2051 ¶¶ 103–104; Ex. 1009,
col. 12, ll. 47–49 (“Each PE contains a 32-bit wide data path and can
perform atomic operations on . . . 32-bit words.”).
      A person of ordinary skill in the art, reading MacMillan and
understanding its emphasis on avoiding increased costs associated with
added complexity and size, would not have been motivated to modify
MacMillan’s device by incorporating Dockser’s FPP into the PEs. See
Chemours Co. FC, LLC v. Daikin Indus., Ltd., 4 F.4th 1370, 1376–77
(Fed. Cir. 2021) (finding insufficient motivation to “increase [a prior art
reference’s] melt flow rate to the claimed range,” in part because the
reference “includes numerous examples of processing techniques that are
typically used to increase melt flow rate, which [the reference] cautions
should not be used due to the risk of obtaining a broader molecular weight
distribution”); TriVascular, 812 F.3d at 1067–69 (finding insufficient
motivation to combine two references by “substitut[ing] the recessed barbs
of [one reference] with the protuberances of [another reference], since [the
petitioner’s] proposed substitution would destroy the basic objective of the
barbs”); In re Gordon, 733 F.2d 900, 902 (Fed. Cir. 1984) (finding no reason
to modify a prior art device where the modification would render the device
“inoperable for its intended purpose”); see also Henny Penny, 938 F.3d at
1332 (affirming the Board’s finding of no motivation to combine where the
Board “credited [the patent owner’s] expert’s testimony that following [one

                                      71
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 73 of 86
IPR2021-00165
Patent 9,218,156 B2
reference’s] method of diverting and cooling the oil in [another reference’s]
system would introduce ‘additional plumbing and complexity’”). Notably,
this is not merely an economic concern over how expensive it would be to
incorporate Dockser’s FPP into MacMillan’s PEs; the evidence shows that
doing so would increase costs because of the added complexity and size of
the FPP—a concern that MacMillan explicitly counsels against. See
Sur-Reply 15.
      Petitioner’s position is that the individual benefits of MacMillan’s
approach (increasing performance speed from many low-cost processors
operating in parallel) and Dockser’s approach (lowering power consumption
using additional circuitry added to a single, more complex processor) would
have motivated a person of ordinary skill in the art to combine the
references’ teachings by incorporating Dockser’s FPP into the multiple PEs
in MacMillan’s device. Pet. 6, 49–50. Given the express teachings of
MacMillan, however, we are not persuaded that an ordinarily skilled artisan
would have been motivated to combine the two different approaches in that
manner. Specifically, MacMillan’s repeated statements that its approach is
designed to avoid increased costs from added complexity and size (and
thereby allow for many low-cost processors in the device) would have
dissuaded a person of ordinary skill in the art from doing so.
      To the extent Petitioner and Mr. Goodin fault Patent Owner for not
providing evidence supporting its position, we are not persuaded. See Reply
9–10; Ex. 1071 ¶ 31. Petitioner bears the burden of proving unpatentability
by a preponderance of the evidence, which includes proving that a person of
ordinary skill in the art would have had reason to combine the prior art
references. See 35 U.S.C. § 316(e); Magnum Oil, 829 F.3d at 1380.
Moreover, Patent Owner’s arguments are supported by evidence. Patent

                                      72
    Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 74 of 86
IPR2021-00165
Patent 9,218,156 B2
Owner relies on the disclosures of Dockser and MacMillan themselves,
expert testimony from Dr. Khatri (which we credit on the issue of reasons to
combine Dockser and MacMillan), and cross-examination testimony from
Mr. Goodin. See PO Resp. 36–37; Sur-Reply 14–15; Ex. 2051 ¶¶ 101–104.
       For the reasons explained above, we are not persuaded that a person
of ordinary skill in the art would have been motivated to combine the
teachings of Dockser and MacMillan in the manner asserted by Petitioner.8
Accordingly, Petitioner has not shown, by a preponderance of the evidence,
that claim 3 would have been obvious based on Dockser and MacMillan
under 35 U.S.C. § 103(a).


                               3. Claims 4–8
       Claims 4–8 depend from claim 3. Accordingly, Petitioner has not
shown, by a preponderance of the evidence, that claims 4–8 would have
been obvious based on Dockser and MacMillan under 35 U.S.C. § 103(a).


                            4. Claims 1, 2, and 16
       As explained above, we conclude that claims 1, 2, and 16 are
unpatentable over Dockser, and over Dockser and Tong, under 35 U.S.C.
§ 103(a). See supra Sections II.D–E. As such, we need not address

8
  Given this determination, we need not address Patent Owner’s argument
that the references fail to teach the “exceeds” limitation of claim 3 because
the alleged “LPHDR execution units” (i.e., the Dockser FPPs in the PEs) are
“adapted to execute at least the operation of multiplication on floating point
numbers that are at least 32 bits wide” (in addition to executing at reduced
precision) and thus “the number of LPHDR execution units will never
exceed the number of claim 3 full-precision multiplication execution units,”
as required by the claim. See PO Resp. 28–36; Reply 12–15; Sur-Reply
10–14.

                                      73
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 75 of 86
IPR2021-00165
Patent 9,218,156 B2
Petitioner’s alternative ground based on Dockser and MacMillan as to
claims 1, 2, and 16. See Boston Sci. Scimed, Inc. v. Cook Grp. Inc.,
809 F. App’x 984, 990 (Fed. Cir. Apr. 30, 2020) (non-precedential)
(recognizing that “the Board need not address issues that are not necessary
to the resolution of the proceeding” and, thus, agreeing that the Board has
“discretion to decline to decide additional instituted grounds once the
petitioner has prevailed on all its challenged claims”).


     G. Obviousness Ground Based on Dockser, Tong, and MacMillan
                        (Claims 1–8, 16, and 33)
                                 1. Claim 3
      Petitioner contends that claims 1–8, 16, and 33 are unpatentable over
Dockser, Tong, and MacMillan under 35 U.S.C. § 103(a). Pet. 56–60.
Petitioner presents two theories with respect to claim 3. First, Petitioner
argues that it would have been obvious to operate the FPPs in the
Dockser-MacMillan combination at Tong’s precision levels, such that “[t]he
resulting Dockser/Tong/MacMillan combination (i.e., MacMillan’s multi-PE
system using Dockser’s FPP with as low as 5-fraction-bit precision as taught
by Tong)” teaches the claim limitations “for the same reasons
Dockser/MacMillan does,” referring to Petitioner’s earlier analysis of the
asserted ground based on Dockser and MacMillan. Pet. 56–57. We are not
persuaded by those arguments for the reasons explained above. See supra
Section II.F.2.
      Second, Petitioner presents another theory based on a “customized
implementation” of Dockser’s FPPs. Pet. 57–60 (citing Ex. 1003
¶¶ 391–401); Reply 15–17 (citing Ex. 1071 ¶¶ 56–62). Petitioner argues
that a person of ordinary skill in the art “would have been motivated to


                                      74
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 76 of 86
IPR2021-00165
Patent 9,218,156 B2
customize Dockser’s FPPs in MacMillan’s PEs to only operate at precision
levels lower than full FP 32-bit operations, in view of Tong’s teachings that
‘the fine precision of the 23-bit mantissa is not essential.’” Pet. 57–58
(citing Ex. 1008, 279). Specifically, according to Petitioner, an ordinarily
skilled artisan would have been motivated to “implement Dockser’s FPPs in
the embedded signal-processing system with smaller than 32-bit registers to
not waste circuit space or incur unnecessary cost in having some register
elements that will always be unpowered” and likewise “implement the
multiplier logic in Dockser’s FPP to have only as many logic elements as
needed to multiply mantissas of the reduced bitwidth (smaller than 23-bit)
corresponding to the precision level selected for the embedded application.”
Id. at 58–59.
      Petitioner’s analysis is premised on an “alternative interpretation” of
the portion of the “exceeds” limitation referring to execution units “adapted
to execute at least the operation of multiplication on floating point numbers
that are at least 32 bits wide.” Id. at 59–60. Under that interpretation, an
execution unit could meet the “adapted to” clause if it is capable of 32-bit
multiplication in some configurations. Id. Dockser’s FPP, modified as
described above, would not be such a unit because it has registers and
multiplier logic with less than 32 bits, and thus is not capable of 32-bit
multiplication in the proposed combination—rather, only the host CPU
floating-point unit would meet the “adapted to” clause. Id.
      Patent Owner responds that a person of ordinary skill in the art
“would not have been motivated to re-engineer the FPP of Dockser to
remove its 32-bit capability [based on Tong] and then incorporate the
re-engineered Dockser unit into the system of MacMillan.” PO Resp. 40–45
(citing Ex. 2051 ¶¶ 108–115). Patent Owner argues that none of the three

                                       75
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 77 of 86
IPR2021-00165
Patent 9,218,156 B2
references support Petitioner’s view. Id. at 42–45. First, Dockser teaches a
device that “support[s] a range of selectable precisions including full
precision,” and “[a]djusting Dockser by removing its full-precision
capability violates a central tenet of Dockser—to always be able to execute
full-precision operations.” Id. at 43–44. Second, Tong similarly teaches a
device with “both full- and reduced-precision capabilities,” and would have
reinforced Dockser’s teaching that “while reduced-precision might be a
viable option in certain circumstances, an execution unit should retain the
ability to operate at full-precision because many applications require full
precision.” Id. at 42–43 (emphasis omitted). Third, the asserted
combination, “which requires special, customized registers, logic elements,
[and] arithmetic units, . . . would increase manufacturing costs and goes
directly against the teachings of MacMillan,” in particular its teaching that
adding “significant complexity” to the SIMD architecture should be avoided.
Id. at 44–45. The parties in their Reply and Sur-Reply disagree as to the
meaning of certain cited disclosures in the references. See Reply 15–17;
Sur-Reply 15–18.
      After reviewing the parties’ arguments and evidence, and the full
disclosures of Dockser, Tong, and MacMillan, we agree with Patent Owner.
Petitioner’s asserted combination is predicated on removing what is a
fundamental feature of Dockser and Tong—namely, the ability to operate at
full precision or select a precision less than full precision. Dockser teaches a
single processor with a default full precision mode that is capable of also
operating in selectable reduced precision modes. Ex. 1007 ¶¶ 3–4 (“[T]he
common situation is that for certain applications, . . . a reduced precision
may be acceptable, and for other applications, . . . a greater precision may be
needed. Accordingly, there is a need in the art for a floating-point processor

                                      76
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 78 of 86
IPR2021-00165
Patent 9,218,156 B2
in which the reduced precision, or subprecision, of the floating-point format
is selectable.”). Dockser’s FPP operates on 32-bit full precision values and
performs arithmetic operations at a particular subprecision if the associated
“subprecision select bits” are set, but if not, operates at full precision. Id.
¶¶ 17–19, 23–29, 32, claims 1 (reciting “a floating-point processor having a
maximum precision” and “selecting a subprecision less than the maximum
precision”), 8, 15, 20. Dockser thus requires full precision with the
capability to select a subprecision less than full precision, as Mr. Goodin
agrees. See Ex. 2043, 36:16–37:17, 38:3–8 (“I don’t believe Dockser
discloses any embodiments without floating-point . . . selectable
precision.”), 55:21–57:12 (“Dockser requires selectable precision”). Indeed,
Petitioner explicitly relies on the fact that “Dockser’s precision is selectable”
when asserting that a person of ordinary skill in the art would have
combined the teachings of Dockser and Tong. See Pet. 43; Reply 8;
Sur-Reply 17. We see no basis to conclude that a person of ordinary skill in
the art would have been motivated to remove the feature that Dockser
describes as always present and that is the basis for Petitioner’s other
assertions regarding Dockser and Tong. See Chemours, 4 F.4th at 1376–77
(finding insufficient motivation to modify a prior art reference “when doing
so would necessarily involve altering the inventive concept of” the
reference); Public Tr. 41:21–42:8.
      Tong likewise does not support Petitioner’s asserted motivation to
combine. Tong discloses that “not all programs need the precision provided
by generic FP hardware,” and “the fine precision of the 23-bit mantissa is
not essential” and “a single custom FP format may be a viable option” for
particular applications, but full precision is necessary for other applications.
See Ex. 1008, 278–280. Tong states that “scientific programs such as

                                        77
    Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 79 of 86
IPR2021-00165
Patent 9,218,156 B2
large-scale computational fluid dynamics or electric circuit simulation . . .
require a huge amount of precision.” Id. at 279. Tong further discloses that
       by reducing either precision or range from 32 to fewer bits, we
       should be able to create custom FP hardware which has lower
       power simply because of the bit reductions. For a narrow,
       application-specific task, a single custom FP format may be a
       viable option. However, to be more generally useful, we need to
       consider arithmetic architectures which can scale to different FP
       formats. Even though we may be able to assume that most of our
       operands can be computed successfully in limited precision, it
       appears inevitable that some fraction of our operands will
       require full IEEE-standard precision.
Id. at 280 (emphasis added). Given those disclosures, we are not persuaded
that a person of ordinary skill in the art would have been motivated to
remove from Dockser’s FPP the capability (i.e., selectability from full
precision) that Tong characterizes as important.9
       Finally, with respect to MacMillan, the reference states that to achieve
its cost objectives, “SIMD capabilities should not add significant complexity
to the architecture of a computer system for personal use.” Ex. 1009, col. 5,



9
  Petitioner has shown sufficiently that a person of ordinary skill in the art
would have been motivated to select a particular precision level in Dockser’s
FPP based on the teachings of Tong, but not to remove functionality from
the FPP itself. See supra Section II.E.2; compare Pet. 43–44 (arguing that
Tong “would have motivated a [person of ordinary skill in the art] to
configure Dockser’s FPP . . . to operate at a selected precision level
retaining as few as 5 mantissa fraction bits . . . or others empirically
determined (using Tong’s techniques) to not require greater precision”
(emphasis added)), with id. at 58–59 (arguing that a person of ordinary skill
in the art “would have been motivated to customize Dockser’s FPPs in
MacMillan’s PEs” by removing register storage elements to have “smaller
than 32-bit registers” (for the register bit-dropping technique) or removing
multiplier logic elements (for the multiplier logic technique) (emphasis
added)).

                                      78
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 80 of 86
IPR2021-00165
Patent 9,218,156 B2
ll. 42–44. The Dockser-Tong-MacMillan combined device would add
complexity because it involves a “customized implementation” of the
multiplier logic in Dockser’s FPP. See Pet. 57–58; Reply 15. Further, to the
extent some selectability remains (among levels below full precision) in
Petitioner’s “customized implementation,” the modified Dockser FPP would
still require Dockser’s additional control circuitry to implement that
selectable subprecision. As explained above, such circuitry would increase
costs due to added complexity and size, which MacMillan expressly
counsels against. See supra Section II.F.2.
      We credit the testimony of Dr. Khatri on these points, as it is
explained sufficiently and is consistent with the disclosures of the
references. See Ex. 2051 ¶¶ 46–48, 107–115. Petitioner has not shown
sufficiently that a person of ordinary skill in the art would have combined
the teachings of Dockser, Tong, and MacMillan to remove from Dockser’s
FPP the ability to select a precision less than full precision and then
incorporate the modified FPP into the PEs of MacMillan. Accordingly,
Petitioner has not shown, by a preponderance of the evidence, that claim 3
would have been obvious based on Dockser, Tong, and MacMillan under
35 U.S.C. § 103(a).


                                2. Claims 4–8
      Claims 4–8 depend from claim 3. Accordingly, Petitioner has not
shown, by a preponderance of the evidence, that claims 4–8 would have
been obvious based on Dockser, Tong, and MacMillan under 35 U.S.C.
§ 103(a).




                                       79
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 81 of 86
IPR2021-00165
Patent 9,218,156 B2
                         3. Claims 1, 2, 16, and 33
      As explained above, we conclude that claims 1, 2, and 16 are
unpatentable over Dockser, and claims 1, 2, 16, and 33 are unpatentable over
Dockser and Tong, under 35 U.S.C. § 103(a). See supra Sections II.D–E.
As such, we need not address Petitioner’s alternative ground based on
Dockser, Tong, and MacMillan as to claims 1, 2, 16, and 33. See Boston
Sci. Scimed, 809 F. App’x at 990.


                   H. Patent Owner’s Motion to Exclude
      Patent Owner moves to exclude (1) Exhibits 1073, 1075–1078,
1082–1084, 1088–1090, 1096, and 1097 as “irrelevant and prejudicial”
under Federal Rules of Evidence 402 and 403; (2) Exhibit 1082 for the same
reasons and also as unauthenticated under Federal Rule of Evidence 901;
(3) and Exhibits 1094 and 1095 as containing inadmissible hearsay under
Federal Rule of Evidence 802. Mot. 3–7. Patent Owner’s Motion is
dismissed as moot, as we do not rely on the exhibits in a manner adverse to
Patent Owner in our Decision.
      In particular, Petitioner cites Exhibits 1073 and 1075 in support of its
argument that Dockser and MacMillan teach the “exceeds” limitation of
claim 3. See Mot. 3–4; Reply 13–14. Petitioner cites Exhibits 1076–1078
and 1097 in response to an argument made by Patent Owner in its Response
regarding MacMillan. See Mot. 4; Reply 16–17. We need not reach those
arguments because we determine that Petitioner has not shown
unpatentability of the claims challenged based on the combinations of
Dockser and MacMillan, and Dockser, Tong, and MacMillan, for other
reasons. See supra Sections II.F, II.G.



                                      80
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 82 of 86
IPR2021-00165
Patent 9,218,156 B2
      Petitioner cites Exhibits 1078, 1082–1084, 1088–1090, and
1094–1096 in support of its arguments regarding objective indicia of
nonobviousness. See Mot. 4–7; Reply 21–22, 25, 27–28. As explained
above, we do not find Patent Owner’s evidence of objective indicia of
nonobviousness persuasive with respect to claims 1, 2, 16, and 33, and do
not rely on the disputed exhibits in reaching that conclusion. See supra
Sections II.D, II.E.


                             I.   Motions to Seal
      The parties move to seal portions of their demonstrative exhibits that
quote or describe material that we previously ordered sealed. Papers 52, 54;
see Papers 27, 48 (granting motions to seal). The parties filed unredacted
confidential and redacted public versions of their demonstrative exhibits.
Exs. 1098, 2054. Upon reviewing the materials sought to be sealed, it
appears that the parties’ characterization of the materials is accurate and the
redactions are narrowly tailored to only confidential information. The
parties have established good cause to seal the redacted portions of the
demonstrative exhibits. We grant the Motions to Seal.




                                      81
     Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 83 of 86
IPR2021-00165
Patent 9,218,156 B2
                             III. CONCLUSION10
        Petitioner has demonstrated, by a preponderance of the evidence, that
claims 1, 2, 16, and 33 of the ’156 patent are unpatentable, but has not
demonstrated, by a preponderance of the evidence, that claims 3–8 are
unpatentable.




10
  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
Decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. §§ 42.8(a)(3),
42.8(b)(2).


                                      82
Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 84 of 86
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 85 of 86
IPR2021-00165
Patent 9,218,156 B2
      FURTHER ORDERED that the parties’ Motions to Seal (Papers 52
and 54) are granted, and the unredacted confidential versions of the
demonstrative exhibits (Exhibits 1098 and 2054) shall remain under seal
pursuant to the default protective order previously entered in the instant
proceeding.
      This is a final decision. Parties to the proceeding seeking judicial
review of the decision must comply with the notice and service requirements
of 37 C.F.R. § 90.2.




                                      84
  Case 1:19-cv-12551-FDS Document 455-1 Filed 04/21/23 Page 86 of 86
IPR2021-00165
Patent 9,218,156 B2
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                                 85
